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QUINN EMANUEL URQUHART & SULLIVAN LLP                      SIDLEY AUSTIN LLP
Deborah J. Newman (admitted pro hac vice)                  Paige Holden Montgomery
Robert S. Loigman (admitted pro hac vice)                  Juliana L. Hoffman
Calli Ray (admitted pro hac vice)                          2021 McKinney Avenue
Anna Deknatel (pro hac vice pending)                       Suite 2000
Aaron M. Lawrence (pro hac vice pending)                   Dallas, Texas 75201
51 Madison Avenue, 22nd Floor                              Telephone: (214) 981-3300
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Telephone: (212) 849-7000

Counsel for Marc S. Kirschner, as Litigation
Trustee of the Highland Litigation Sub-Trust

                            UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF TEXAS
 In re:
                                                     Chapter 11
 HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                     Case No. 19-34054-sgj11
                   Reorganized Debtor.

 MARC S. KIRSCHNER, AS LITIGATION
 TRUSTEE OF THE LITIGATION SUB-TRUST,

                   Plaintiff,

              v.

 JAMES D. DONDERO; MARK A. OKADA;
 SCOTT ELLINGTON; ISAAC LEVENTON;
 GRANT JAMES SCOTT III; STRAND
 ADVISORS, INC.; NEXPOINT ADVISORS, Adv. Pro. No. 21-03076-sgj
 L.P.; HIGHLAND CAPITAL MANAGEMENT
 FUND ADVISORS, L.P.; DUGABOY
 INVESTMENT TRUST AND NANCY
 DONDERO, AS TRUSTEE OF DUGABOY
 INVESTMENT TRUST; GET GOOD TRUST
 AND GRANT JAMES SCOTT III, AS
 TRUSTEE OF GET GOOD TRUST; HUNTER
 MOUNTAIN INVESTMENT TRUST; MARK &
 PAMELA OKADA FAMILY TRUST –
 EXEMPT TRUST #1 AND LAWRENCE
 TONOMURA AS TRUSTEE OF MARK &
 PAMELA OKADA FAMILY TRUST –
 EXEMPT TRUST #1; MARK & PAMELA

          1
         The last four digits of the Reorganized Debtor’s taxpayer identification number are
(8357). The Reorganized Debtor is a Delaware limited partnership. The Reorganized Debtor’s
headquarters and service address are 100 Crescent Court, Suite 1850, Dallas, TX 75201.

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 OKADA FAMILY TRUST – EXEMPT TRUST
 #2 AND LAWRENCE TONOMURA IN HIS
 CAPACITY AS TRUSTEE OF MARK &
 PAMELA OKADA FAMILY TRUST –
 EXEMPT TRUST #2; CLO HOLDCO, LTD.;
 CHARITABLE DAF HOLDCO, LTD.;
 CHARITABLE DAF FUND, LP.; HIGHLAND
 DALLAS FOUNDATION; RAND PE FUND I,
 LP, SERIES 1; MASSAND CAPITAL, LLC;
 MASSAND CAPITAL, INC.; AND SAS ASSET
 RECOVERY, LTD.,

                Defendants.


                    APPENDIX IN SUPPORT OF
       THE LITIGATION TRUSTEE’S RESPONSE IN OPPOSITION TO
 DEFENDANTS’ MOTIONS TO DISMISS AND THE CLO HOLDCO DEFENDANTS’
            MOTION FOR A MORE DEFINITIVE STATEMENT

       Marc S. Kirschner, the above-captioned Plaintiff, through his undersigned counsel,

hereby files this Appendix in support of his Opposition to the Motions.



        Exhibit                           Description                     Appendix Pages

           A              Declaration of Deborah Newman, dated                   1-4
                          September 19, 2022
          A-1             Fourth Amended and Restated Agreement                 5-41
                          of Limited Partnership of Highland Capital
                          Management, L.P., dated December 24,
                          2015
          A-2             Transcript from August 8, 2022 hearing in            42-175
                          the matter of UBS Secs. LLC v. Highland
                          Capital Mgmt., L.P., Adv. Pro. 21-03020-
                          sgj (N.D. Tex. Aug. 10, 2022) [Dkt. No.
                          183].
          A-3             Assignment Agreement between Claimant               176-178
                          Trust and Litigation Sub-Trust, executed as
                          of October 8, 2021.




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 Dated: September 19, 2022                      Respectfully submitted,

                                                SIDLEY AUSTIN LLP
                                                /s/ Paige Holden Montgomery
                                                Paige Holden Montgomery
                                                Juliana L. Hoffman
                                                2021 McKinney Avenue
                                                Suite 2000
                                                Dallas, Texas 75201
                                                Telephone: (214) 981-3300
                                                Facsimile: (214) 981-3400

                                                -and-

                                                QUINN EMANUEL URQUHART &
                                                SULLIVAN, LLP
                                                Deborah J. Newman (admitted pro hac vice)
                                                Robert S. Loigman (admitted pro hac vice)
                                                Benjamin I. Finestone (admitted pro hac vice)
                                                Calli Ray (admitted pro hac vice)
                                                Kate Scherling (admitted pro hac vice)
                                                Anna Deknatel (pro hac vice pending)
                                                Aaron M. Lawrence (pro hac vice pending)
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                                                Floor 22
                                                New York, NY 10010
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                                                Counsel for Marc S. Kirschner, as Litigation
                                                Trustee of the Highland Litigation Sub-Trust




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies, that on this 19th day of September 2022, the

undersigned caused to be served a true and correct copy of the foregoing by electronically filing

it with the Court using the CM/ECF system, which sent notification to all parties of interest

participating in the CM/ECF system.

                                                     /s/ Paige Holden Montgomery
                                                     Paige Holden Montgomery




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                                         Exhibit A




                                          1
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Robert S. Loigman (admitted pro hac vice)                  Juliana L. Hoffman
Calli Ray (admitted pro hac vice)                          2021 McKinney Avenue
Anna Deknatel (admitted pro hac vice)                      Suite 2000
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New York, NY 10010
Telephone: (212) 849-7000

Counsel for Marc S. Kirschner, as Litigation
Trustee of the Highland Litigation Sub-Trust

                            UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF TEXAS
 In re:
                                                     Chapter 11
 HIGHLAND CAPITAL MANAGEMENT, L.P., 2
                                                     Case No. 19-34054-sgj11
                   Reorganized Debtor.

 MARC S. KIRSCHNER, AS LITIGATION
 TRUSTEE OF THE LITIGATION SUB-TRUST,

                   Plaintiff,

              v.

 JAMES D. DONDERO; MARK A. OKADA;
 SCOTT ELLINGTON; ISAAC LEVENTON;
 GRANT JAMES SCOTT III; STRAND
 ADVISORS, INC.; NEXPOINT ADVISORS, Adv. Pro. No. 21-03076-sgj
 L.P.; HIGHLAND CAPITAL MANAGEMENT
 FUND ADVISORS, L.P.; DUGABOY
 INVESTMENT TRUST AND NANCY
 DONDERO, AS TRUSTEE OF DUGABOY
 INVESTMENT TRUST; GET GOOD TRUST
 AND GRANT JAMES SCOTT III, AS
 TRUSTEE OF GET GOOD TRUST; HUNTER
 MOUNTAIN INVESTMENT TRUST; MARK &
 PAMELA OKADA FAMILY TRUST –
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          2
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 OKADA FAMILY TRUST – EXEMPT TRUST
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 CHARITABLE DAF HOLDCO, LTD.;
 CHARITABLE DAF FUND, LP.; HIGHLAND
 DALLAS FOUNDATION; RAND PE FUND I,
 LP, SERIES 1; MASSAND CAPITAL, LLC;
 MASSAND CAPITAL, INC.; AND SAS ASSET
 RECOVERY, LTD.,

                Defendants.


  DECLARATION OF DEBORAH J. NEWMAN IN SUPPORT OF PLAINTIFF MARC
   KIRSCHNER’S OPPOSITION TO DEFENDANTS’ MOTIONS TO DISMISS AND
              MOTION FOR A MORE DEFINITE STATEMENT

       Deborah J. Newman, pursuant to 28 U.S.C. § 1746(a), under penalty of perjury, declares

as follows:

       1.      I am a member of the law firm of Quinn Emanuel Urquhart & Sullivan LLP,

counsel to Plaintiff Marc Kirschner, as Litigation Trustee of the Litigation Sub-Trust, created

under Highland Capital Management, L.P.’s Fifth Amended Plan of Reorganization. I submit

this Declaration in support of Plaintiff’s Opposition to Defendants’ Motions to Dismiss and

Motion for a More Definite Statement, which is being filed concurrently with this Declaration. I

submit this Declaration based on my personal knowledge and the documents listed below.

       2.      Attached as Exhibit A-1 is a true and correct copy of the Fourth Amended and

Restated Agreement of Limited Partnership of Highland Capital Management, L.P., dated

December 24, 2015.

       3.      Attached as Exhibit A-2 is a true and correct copy of the transcript from the

August 8, 2022 hearing in the matter of UBS Secs. LLC v. Highland Capital Mgmt., L.P., Adv.

Pro. 21-03020-sgj (N.D. Tex. Aug. 10, 2022) [Dkt. No. 183].



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       4.     Attached as Exhibit A-3 is a true and correct copy of the Assignment Agreement

between the Claimant Trust and the Litigation Sub-Trust, executed as of October 8, 2021.

                                                   /s/ Deborah J. Newman
                                                   Deborah J. Newman




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                      IN THE UNITED STATES BANKRUPTCY COURT
 1                     FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
 2
                                     )    Case No. 19-34054-sgj-11
 3   In Re:                          )    Chapter 11
                                     )
 4   HIGHLAND CAPITAL                )    Dallas, Texas
     MANAGEMENT, L.P.,               )    Monday, August 8, 2022
 5                                   )    9:30 a.m. Docket
               Debtor.               )
 6                                   )
                                     )
 7   UBS SECURITIES, LLC, et.        )    Adversary Proceeding 21-3020-sgj
     al.,                            )
 8                                   )    HIGHLAND CAPITAL MANAGEMENT,
               Plaintiffs,           )    L.P.'S MOTION TO WITHDRAW ITS
 9                                   )    ANSWER AND CONSENT TO JUDGMENT
     v.                              )    FOR PERMANENT INJUNCTIVE
10                                   )    RELIEF [169]
     HIGHLAND CAPITAL                )
11   MANAGEMENT, LP,                 )
                                     )
12             Defendant.            )
                                     )
13
                             TRANSCRIPT OF PROCEEDINGS
14                  BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
                          UNITED STATES BANKRUPTCY JUDGE.
15
     APPEARANCES:
16
     For Plaintiff UBS               Andrew Clubok
17   Securities, LLC:                Shannon Elizabeth McLaughlin
                                     LATHAM & WATKINS, LLP
18                                   555 Eleventh Street, NW,
                                       Suite 1000
19                                   Washington, DC 20004-1304
                                     (202) 637-2335
20
     For Plaintiff UBS               Kathryn (Katie) George
21   Securities, LLC:                LATHAM & WATKINS, LLP
                                     330 North Wabash Avenue,
22                                     Suite 2800
                                     Chicago, IL 60611
23                                   (312) 876-6567

24

25




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                                                                       2


 1   APPEARANCES, cont'd.:
 2   For the Defendant:             John Morris
                                    Gregory V. Demo
 3                                  PACHULSKI STANG ZIEHL & JONES, LLP
                                    780 Third Avenue, 34th Floor
 4                                  New York, NY 10017-2024
                                    (212) 561-7700
 5
     For the Defendant:             Jeffrey Nathan Pomerantz
 6                                  PACHULSKI STANG ZIEHL & JONES, LLP
                                    10100 Santa Monica Blvd.,
 7                                    13th Floor
                                    Los Angeles, CA 90067-4003
 8                                  (310) 277-6910
 9   For Former Employees:          Eric A. Soderlund
                                    ROSS & SMITH, P.C.
10                                  Plaza of the Americas
                                    700 N. Pearl Street, Suite 1610
11                                  Dallas, TX 75201
                                    (214) 377-7879
12
     Recorded by:                   Caitlynne Smith
13                                  UNITED STATES BANKRUPTCY COURT
                                    1100 Commerce Street, 12th Floor
14                                  Dallas, TX 75242
                                    (214) 753-2088
15
     Transcribed by:                Kathy Rehling
16                                  311 Paradise Cove
                                    Shady Shores, TX 76208
17                                  (972) 786-3063
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25          Proceedings recorded by electronic sound recording;
               transcript produced by transcription service.




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     1               DALLAS, TEXAS - AUGUST 8, 2022 - 9:47 A.M.

     2              THE COURT:    21-3020.     Mr. Clubok, I saw you out there

     3   earlier.   Are you appearing for UBS?

     4              MR. CLUBOK:    Yes.    Good morning, Your Honor.   Andrew

     5   Clubok; Latham & Watkins; on behalf of UBS.        And I'm here also

     6   with my colleagues Kathryn George and Shannon McLaughlin.

     7              THE COURT:    Okay.    Thank you.

     8        All right.   For the Debtor, Mr. Morris, are you appearing?

     9              MR. MORRIS:    Yes.    Good morning, Your Honor.   John

    10   Morris; Pachulski Stang Ziehl & Jones.         I'm joined by my

    11   colleagues Jeffrey Pomerantz and Greg Demo for the reorganized

    12   Highland Capital Management, LP.        And we have today with us

    13   Mr. Seery, who will present some live testimony today.

    14              THE COURT:    Okay.    Good morning to all.

    15        All right.   The Committee was an intervenor, I believe, in

    16   this adversary.    Is there any appearance by the Committee?          Or

    17   I should -- well, --

    18              MR. MORRIS:    I think that was before the effective

    19   date, Your Honor.

    20              THE COURT:    That was --

    21              MR. MORRIS:    Yeah.

    22              THE COURT:    I guess we have no Committee anymore.

    23   The Liquidating Trustee.     I don't know if the Liquidating

    24   Trustee stepped in the shoes of the Committee.

    25        (No response.)




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     1              THE COURT:    Okay.    Anybody I've missed?

     2              MR. SODERLUND:    Your Honor, this is -- good morning,

     3   Your Honor.    This is Eric Soderlund with Ross & Smith.      We

     4   represent nonparties to this adversary:        Scott Ellington,

     5   Isaac Leventon, Katie Lucas, J.P. Sevilla, Matt DiOrio, and

     6   Stephanie Vitiello.      We're just monitoring the hearing, but I

     7   did want to make an appearance and let the Court know we're

     8   here.

     9              THE COURT:    Okay.    Thank you.

    10        All right.    Well, if there are no other appearances, Mr.

    11   Clubok, you may proceed.

    12              MR. CLUBOK:    Thank you, Your Honor.    Technically, I

    13   think --

    14              THE COURT:    Oh, actually, let me -- it's Highland's

    15   motion to withdraw --

    16              MR. CLUBOK:    Yeah.

    17              THE COURT:    -- its answer, so I was thinking

    18   Plaintiff go first, but actually it makes more sense for

    19   Highland to go first.     So, go ahead.

    20              MR. CLUBOK:    Yes.

    21              MR. MORRIS:    Thank you, Your Honor.    Again, John

    22   Morris from Pachulski Stang for Highland.

    23        We're here today on Highland's motion to withdraw its

    24   answer and to consent to the judgment that has been requested

    25   by UBS.




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     1       We thought it was very important, Your Honor, to create an

     2   evidentiary record to enable the Court to rule on that motion.

     3       As Your Honor will recall, at the time this adversary

     4   proceeding was commenced, Highland had just recently

     5   discovered and had shared with UBS certain facts that it had

     6   identified with respect to the transfer of certain assets that

     7   appeared to belong to entities against which UBS had obtained

     8   a judgment.

     9       And at the time the action was commenced, the Reorganized

    10   Debtor -- I guess at that time it was really still the Debtor

    11   -- did not feel that it had sufficient personal knowledge in

    12   order to address the merits of the allegations that were made.

    13   And so we specifically told the Court and all parties in

    14   interest that we felt we needed a fulsome evidentiary record.

    15   And having concluded that, Mr. Seery on behalf of the

    16   Reorganized Debtor seeks to terminate this litigation and

    17   confess to judgment.

    18       I've got a brief opening statement that I'd like to make,

    19   but before I do that, Your Honor, there has been one

    20   meaningful development since we last met with the Court that

    21   I'm going to defer to Mr. Clubok to report at this time.

    22              THE COURT:    All right.   Mr. Clubok?

    23              MR. CLUBOK:    Yes, Your Honor.   Sometimes we --

    24   development is a euphemism for something bad, but in this case

    25   it's something good.     And that is we, on Friday morning,




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     1   reached a memorandum of understanding with Sentinel that we

     2   believe will ultimately result in several papers that we will

     3   be -- that will be submitted to the Court I believe through

     4   the 9019 process, hopefully in a matter of weeks.

     5        Now, that's going to resolve a large portion of what we're

     6   doing here today, but really it sort of highlights the fact

     7   that what UBS has always wanted in this proceeding is for the

     8   Court to issue a permanent injunction so that all of these

     9   assets are frozen, the ones we know about now and probably the

    10   ones we keep finding.    Every time we turn around, we find a

    11   new one.    By permanent, we mean until a court orders the

    12   disposition through a proceeding or pursuant to a settlement.

    13        So this new news from Friday is good, and it really sets

    14   the table for this proceeding so that we can do this once and

    15   for all, ideally, where the Court hopefully agrees with what

    16   apparently Highland agrees, there should be an injunction,

    17   that we've met the standard, assuming we can present the

    18   evidence to you.    And I would note that public interest is a

    19   factor, too, so that's another reason why we just want to make

    20   sure we have a full evidentiary record.

    21        We will not then need to repeat this record, we can then

    22   use the same record and refer to it for the expected 9019

    23   process, and we can be very efficient.

    24        Also, in light of that and in light of other stipulations

    25   we've reached, I just wanted to advise the Court we do think




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     1   we can have a relatively streamlined process here.          For

     2   example, I am going to defer my opening statement and just let

     3   Mr. Morris make his opening statement and his presentation,

     4   and I'll defer until the back half.

     5          We've also agreed to stipulate to I believe all of the

     6   exhibits on each other's lists.        If Your Honor would like me

     7   to specifically read out the numbers, I can do that for

     8   housekeeping.    If it's more convenient, just very quickly I

     9   can identify the exhibits, at least on UBS's list, and then

    10   Mr. Morris can add his as well, so we don't have to keep doing

    11   that as Mr. Seery testifies.

    12               THE COURT:    All right.   Thank you for that report.

    13   Let's go ahead and get the exhibits on the record before we do

    14   anything else.

    15          Mr. Morris, it looks like you had, at Docket No. 176,

    16   Exhibits 1 through 10 designated.        Is that correct?

    17               MR. MORRIS:    That's correct.   And with Mr. Seery

    18   available to testify, we'd also respectfully move into

    19   evidence his declaration, which can be found at Docket No.

    20   170.

    21               THE COURT:    All right.   So I'm hearing, Mr. Clubok,

    22   no objection to that?

    23               MR. CLUBOK:    No objection, Your Honor.

    24               THE COURT:    So the declaration at 170, as well as the

    25   10 exhibits at 176, will be admitted.




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     1          (Defendant's Exhibits 1 through 10 and the declaration of

     2   James Seery are received into evidence.)

     3               THE COURT:    And then turning to UBS's exhibit list,

     4   UBS at Docket 177 had it looks like 41 or 42 exhibits,

     5   including the declaration of Mr. Seery.        There's no objection,

     6   Mr. Morris, to all of those coming in?

     7               MR. CLUBOK:    Your Honor, briefly, we did file an

     8   amended --

     9               THE COURT:    Oh.

    10               MR. CLUBOK:    -- exhibit list this morning that we

    11   have -- that we have provided in advance to Mr. Morris.           It's

    12   obviously not made its way to you yet.        It's Docket No. 179.

    13   And we -- if you haven't gotten hard copies yet, you won't

    14   need them for the purpose of this hearing, but you'll have

    15   them shortly if you don't have them yet.        We have extra for

    16   the relevant exhibits that we'll put up on the screen each

    17   time we refer to them.

    18               THE COURT:    All right.   So, are they filed on the

    19   docket or did you deliver hard copies?

    20               MR. CLUBOK:    Yes.    I believe both, Your Honor.    It's

    21   179.    I have Docket 179.

    22               THE COURT:    Okay.    I'm pulling it up.

    23               MR. CLUBOK:    And the hard copies, I guess -- maybe

    24   the hard copies haven't yet been delivered, but they're on

    25   their way and you should get them by -- by the end of the




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     1   hearing.

     2              THE COURT:    Okay.

     3              MR. CLUBOK:    Or shortly thereafter.

     4              THE COURT:    Bear with me.

     5        (Pause.)

     6              THE COURT:    Okay.    There they are.   179.   Okay.   It

     7   looks like you've added some exhibits, so we're now up through

     8   51 exhibits.    Is that correct?

     9              MR. CLUBOK:    I believe that's right, Your Honor.          I

    10   can -- just because there's a couple of gaps, maybe if it

    11   would help I can just read the numbers of the ones that we

    12   wish to move into -- for the record, so the record's clean,

    13   I'll just read off the numbers?

    14              THE COURT:    Okay.

    15              MR. CLUBOK:    So, we -- UBS would like to move into

    16   evidence Exhibits 1 through 12, Exhibits 14 through 23,

    17   Exhibits 25 through 35, Exhibits 37 through 53.        And with the

    18   one caveat being, Your Honor, that some of those exhibits are

    19   deposition transcripts.     For those, we have designated the

    20   portions that we'd like to move into evidence through

    21   highlighting.    And you'll, if you haven't already, you'll be

    22   receiving those as well.     And so it's the -- for the

    23   deposition transcripts of those exhibits I just identified,

    24   it's the highlighted or designated portions.

    25              THE COURT:    Okay.




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     1               MR. CLUBOK:    And all this has been shared with

     2   Highland.

     3               THE COURT:    Very good.      And Mr. Morris, do you

     4   confirm you're okay with those coming in?

     5               MR. MORRIS:    I do.       I just want to make a very brief

     6   note that the reason we have no objections to the exhibits

     7   today isn't because we don't have views as to the evidentiary

     8   rules.     We actually exchanged exhibit lists on Thursday before

     9   they were filed with the Court.           Highland did object to a

    10   number of exhibits that were on UBS's proposed exhibit list

    11   and they withdrew them.      And so that's really the reason why

    12   there is no objection today, is because we actually took the

    13   time to meet and confer and to go through any evidentiary

    14   concerns prior to today.

    15        So, with that background, Highland has no objection.

    16               THE COURT:    Okay.    So these UBS exhibits named will

    17   be admitted.

    18        (UBS Securities, LLC's Exhibits 1 through 12, 14 through

    19   23, 25 through 35, and 37 through 53 are received into

    20   evidence.)

    21               THE COURT:    All right.      Well, are we ready for

    22   opening statements?       Mr. Morris?

    23               MR. MORRIS:    Yes, Your Honor.

    24               THE COURT:    You may proceed.

    25               MR. MORRIS:    Thank you very much.




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     1              OPENING STATEMENT ON BEHALF OF THE DEFENDANT

     2              MR. MORRIS:   Good morning, Your Honor.    John Morris;

     3   Pachulski Stang; for Highland.

     4        We're here today on Highland's motion to withdraw its

     5   answer and to confess to judgment.     And I want to just cover

     6   certain facts that we believe will be reflected in the record

     7   and to share with Your Honor certain perspectives that we

     8   have.

     9        The facts here I think are largely not in dispute.       They

    10   concern the August 2017 transfer of assets from certain funds

    11   that were under the control of James Dondero to a Cayman

    12   Islands putative insurance company that was owned by Mr.

    13   Dondero and Mr. Ellington.

    14        The evidence will show that the funds that transferred

    15   their assets to Mr. Dondero's -- at Mr. Dondero's direction

    16   were defendants in a lawsuit that was brought by UBS in New

    17   York and that the transfers were effectuated immediately after

    18   the New York court denied the Highland entities' motion for

    19   summary judgment.

    20        The evidence will show that the Debtor's independent board

    21   was unaware of these transfers until they were uncovered in

    22   late January and early February 2021, and that the reason for

    23   the transfers was unknown until that time by the independent

    24   board precisely because certain former Highland employees

    25   actively and intentionally worked to conceal them.




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     1        I don't have a PowerPoint presentation today, Your Honor.

     2   I want to just look at three documents.       The first one is an

     3   insurance policy.     And the reason for the transfers ostensibly

     4   was to purchase what is called after-the-fact insurance.         And

     5   what's on the screen now is Highland's Exhibit 1.       And if we

     6   can go to the first page, you'll see that it's an email from

     7   Isaac Leventon to someone named Chris Dunn.       It's dated

     8   October 2017.     So this is just a few months after the court in

     9   New York has denied summary judgment, and it follows on the

    10   heels of an analysis that was prepared that I think is at UBS

    11   Exhibit No. 7, an analysis of settlement options and

    12   optionality following that decision.

    13        Mr. Leventon attaches an insurance policy.       He labels it

    14   privileged.     He says that all communications related to the

    15   project are privileged.

    16        You know, Your Honor, he's attaching an insurance policy.

    17   I know of no basis to assert any privilege of any kind, but

    18   this is the litigation team, if Your Honor will recall, that

    19   was found to be subject to the crime fraud exception in

    20   Delaware.     It's the team that was found by the arbitration

    21   panel in Redeemer, the Redeemer arbitration, to have engaged

    22   in misleading conduct.

    23        Again, it's troubling to find this document.       And here's

    24   the thing, Your Honor.     You may be aware that UBS took

    25   numerous depositions in this case.      This particular document




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     1   wasn't uncovered -- actually, no, I'm confusing it with a

     2   different document.     So this document is sent by Mr.

     3   Ellington, and he attaches the insurance policy.

     4       If we could go to Page 19 of 20 of the PDF, and let's just

     5   see exactly what this policy is.      It's to insure certain

     6   funds.     These are the funds that are the Defendants in the UBS

     7   action.    The appointed representative is Paul Lackey, an

     8   attorney now with the Stinson firm.      Mr. Lackey is the

     9   representative here.     It's a policy that was effective as of

    10   August 1, 2017.     And it specifically covers the UBS action.

    11       You'll see below, Your Honor, that it's supposed to be for

    12   a $100 million policy with a premium of $25,000.       $25 million.

    13   So think about it.     The New York court comes out with its

    14   decision.    They transfer all the assets from the Defendants

    15   other than Highland to Mr. Dondero's captive insurance company

    16   in the Cayman Islands.     And they don't tell anybody.

    17       And if we can go to the next page, you can just see Mr.

    18   Dondero's signature on behalf of the various entities.         And

    19   the important point for us here, Your Honor, as the Debtors,

    20   the former Debtors, the reorganized Highland, is that Highland

    21   CDO Opportunity Master Fund is one of the insureds here, and

    22   they're signing the document -- it's being signed by Highland

    23   CDO Opportunity Fund GP, its general partner; Highland CDO

    24   Opportunity GP, LLC, its general partner; and Highland Capital

    25   Management, LP, its sole member.




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     1        So the acts that are being undertaken here, unbeknownst to

     2   the independent board, Mr. Seery, and the postpetition

     3   professionals, is that there was a transaction back in August

     4   of 2017 in which the assets of the Defendants were put beyond

     5   the reach of UBS.

     6        The $25 million insurance payment premium was funded at

     7   the same time, if we can go to Exhibit 2, with what's called a

     8   purchase agreement.      This purchase agreement, you can see,

     9   Your Honor, is dated as of August 7, 2017.       It's between

    10   Sentinel Reinsurance and the two funds that were Defendants.

    11   It is through this agreement that the funds transferred their

    12   assets to Sentinel.

    13        Sentinel is, I think I mentioned, a Cayman -- right, no

    14   dispute about these facts -- is a Cayman Islands entity owned

    15   by Mr. Dondero and Mr. Leventon.

    16        And if we could go to Pages 4 and 5, we'll see again Mr.

    17   Dondero signing on behalf of all of the Highland entities.

    18              MR. SODERLUND:    Your Honor, this is Eric Soderlund.

    19   I just want to interrupt here.      I think Mr. Morris said that

    20   Sentinel was owned by Mr. Leventon.

    21              THE COURT:    Actually, I heard the same --

    22              MR. SODERLUND:    I don't think that's true.

    23              THE COURT:    I heard the same thing.   Did you mean

    24   Ellington?

    25              MR. MORRIS:    Right.   Thank you.   I did mean




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     1   Ellington.

     2              THE COURT:    Okay.

     3              MR. MORRIS:    Thank you so much.

     4              THE COURT:    Thank you.

     5              MR. MORRIS:    Appreciate the clarification.    We -- I

     6   do need to get this right.

     7        So, you can see that Mr. Dondero is signing on behalf of

     8   all of the Highland entities on Pages 4 and 5.

     9        And if we can go down to Pages 7 and 8, you'll see

    10   attached is a schedule.     And what's really interesting, Your

    11   Honor, is that if you add up the assets that are being

    12   transferred to Sentinel, they don't equal $25 million.        They

    13   equal something approaching $300 million.        And there will be

    14   other evidence in the record that shows the fair market value

    15   at the time was over $100 million.

    16        In other words, the Defendants in the UBS action, the

    17   evidence, and there really can never be a dispute about this,

    18   transferred what appears to be all of their assets, with a

    19   value in excess of what the benefit is under the so-called

    20   insurance policy.

    21        Why are these issues -- we can take this down now.          Why

    22   are these issues important, Your Honor?        At Mr. Dondero's

    23   direction, the funds were left judgment-proof.        The only

    24   assets it apparently had was this insurance policy.

    25        This became critical in the spring of 2020, postpetition,




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     1   when the New York court entered judgments against the two

     2   funds in amounts in excess of $500 million each.      So those

     3   judgments early in 2020 were for over a billion dollars.        But

     4   these transfers by these Defendants were never disclosed to

     5   the board.

     6        The evidence will show and Mr. Seery will testify and the

     7   documents will corroborate his testimony that the transfers

     8   were not only never disclosed, but that the independent board

     9   relied specifically on Scott Ellington and Isaac Leventon to

    10   learn about the UBS claim, to determine the defenses that the

    11   Debtor asserted.    And as Your Honor will recall, in 2020 the

    12   Debtor spent enormous time, money, and effort, as the Court

    13   did, defending against the claims against Highland.       We took

    14   -- we didn't really have an interest in the claims against

    15   these two funds, but as to Highland at that point we had no

    16   reason to believe that Highland had been engaged in any

    17   wrongdoing, and we litigated accordingly.      That's why this is

    18   all so terribly important, Your Honor.

    19        The evidence will show that, at the independent board's

    20   direction, the Debtor's professionals pressed the Debtor's

    21   employees for information relating to the funds' assets, only

    22   to be effectively stonewalled.

    23        I don't want to take the time to go through all of the

    24   emails, but at Exhibits 5, 6, and 7 there is evidence in the

    25   record that will show the Court -- to me, it just, you know,




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     1   it jumps out -- the answers that were given, you know, to Mr.

     2   Demo and DSI's dogged and persistent inquiries.      And you'll

     3   see, Your Honor, that these employees did nothing but

     4   obfuscate, engage in misdirection, and feign ignorance as to

     5   basic matters.    We just had a judgment entered for over a

     6   billion dollars, and nobody told us about the transfer of

     7   these assets in 2017, or the existence of the insurance

     8   policy.

     9        And we think that we know why.     Because -- and this is the

    10   document that we uncovered after the depositions, so nobody

    11   has ever been asked about this -- but we found a document late

    12   last year that's called an indemnification agreement.         It's a

    13   secret indemnification agreement between these employees and

    14   Sentinel, and it was dated June 18, 2020.      It is hard to think

    15   of a document that could convey a consciousness of guilt more

    16   than an indemnification agreement entered into weeks after the

    17   New York court enters a billion-dollar judgment against

    18   Defendants who have transferred all of their assets to the

    19   indemnitor.    Hard to imagine.

    20        Mr. Dondero does not act alone.     We've spent two years

    21   talking about Mr. Dondero.     Mr. Dondero does not act alone.

    22   He is assisted by a group of loyalists who do his bidding in

    23   exchange for substantial compensation and protection.

    24        June 2020.   At the very moment that Mr. Dondero is making

    25   those $10 million of payments that he admitted to in open




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     1   court back in April, his insurance company is also

     2   indemnifying Highland employees.     And the source of the

     3   indemnity are the assets that have been -- that were

     4   transferred in 2017 from these Defendants to Sentinel.

     5       Let's look at the indemnity agreement.      It's Exhibit 9 on

     6   the Debtor's exhibit list.    And you'll see, Your Honor, in

     7   Exhibit 9, if we could just scroll down, you can see that it's

     8   sent to an entity called SAS Asset Recovery.      You'll see in

     9   the emails that I cited to earlier that Mr. Demo and DSI asked

    10   numerous questions of the indemnitees, unknown to them at the

    11   time, about what SAS was, and they all said they had no idea.

    12   And yet this is an agreement dated June 18, 2020, on behalf of

    13   Sentinel Reinsurance, where they -- where Sentinel indemnifies

    14   six individuals.

    15       And the language is startling, Your Honor, because while

    16   Mr. Ellington has an ownership interest and Matthew DiOrio is

    17   a director of Sentinel, the other signatories to this

    18   indemnity agreement, to the best of our knowledge, have

    19   absolutely no formal relationship with Sentinel in any way,

    20   shape, or form, and yet Sentinel is thanking them for their

    21   efforts, including as an agent in connection with the

    22   preparation of documents and reports and, quote, other

    23   activities as requested by Sentinel.

    24       Postpetition, undisclosed, and it's issued at the time

    25   huge payments of money are being made after the New York court




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     1   has issued its judgment and as Mr. Demo and DSI began -- begin

     2   making very substantial inquiries as to the location of these

     3   assets.

     4        If we could go to Page 5, please.        I want the Court to be

     5   aware of the names of the signatories to this indemnity

     6   agreement.     We have Matthew DiOrio.     Next page.    Stephanie

     7   Vitiello.     Next page.   Katie Irving.    Next page.    Isaac

     8   Leventon.     Next page.   Scott Ellington.    Next page.    J.P.

     9   Sevilla.

    10        Your Honor, those six individuals are all over Exhibits 5,

    11   6, and 7, the emails where Mr. Demo and DSI and Mr. Seery are

    12   trying their hardest to find out whatever information they can

    13   about SAS, Sentinel, and the assets of these two funds.             These

    14   are the six people who signed the indemnity, and they're the

    15   six people are responding to the inquiries with no meaningful

    16   factual information.

    17        The transfers and the cover-ups have substantially harmed

    18   the Debtor.     The actions taken in 2017, in our view, were

    19   plainly wrongful.     They left Defendants judgment-proof.          They

    20   transferred assets to the Cayman Islands.        They supposedly

    21   paid over a hundred million dollars for a hundred-million-

    22   dollar policy.

    23        The Debtors spent significant time, money, and efforts,

    24   substantial resources.     They stand accused all the time of, oh

    25   my god, they're spending so much money.        Think about what --




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    1   and Mr. Seery is going to testify to this -- about how much

    2   time, money, and effort went to defending against UBS's claim

    3   against Highland.     The mediation where we didn't have this

    4   information.    The motion for partial summary judgment.       The

    5   3018 proceeding.     Right?   And we finally got to a settlement

    6   with them without this information.

    7        The damage caused to the Debtor and the independent board.

    8   We sat there and we made representations to the Court.         You

    9   know, in hindsight, they were not accurate.      They just

   10   weren't.    And they weren't accurate.    They weren't accurate to

   11   UBS, they weren't accurate to the mediators, they weren't

   12   accurate to the Court, because we just didn't know.       We didn't

   13   know anything about the policy.      We didn't know anything about

   14   the asset transfers.     Substantial damage.   Chasing nothing.

   15        Most critically, Your Honor, it deprived the Debtor of

   16   currency to settle its claim with UBS on favorable terms, and

   17   that is the greatest damage of all.      Highland was forced to

   18   renegotiate its settlement with UBS because, based on Mr.

   19   Dondero's signature under the Highland Capital name back in

   20   2017, and based on the conduct of those six employees,

   21   Highland had liability where it believed there was none.        And

   22   consequently, it had to -- had to increase very substantially,

   23   by tens of millions of dollars, the allowed claim with UBS.

   24   And then -- and then stand as a Defendant in these

   25   proceedings.




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     1       We've been damaged hard.      This is not -- this is not the

     2   way the process is supposed to work.     The massive transfer of

     3   assets that leave Defendants judgment-proof.      Undisclosed and

     4   secret indemnity agreements that in and of itself constitutes

     5   a massive breach of duty.    The cover-up that immediately

     6   followed the execution of the indemnity agreement.

     7       We are just bankruptcy lawyers, Your Honor.      Our duty is

     8   only to maximize recovery for creditors.      We're not

     9   prosecutors.    We're not the SEC.   We're not the U.S. Trustee's

    10   Office.    We're not the Texas Committee of Attorney Discipline.

    11   There's only so much that we can do.     We'll continue to do our

    12   jobs, and we're not presenting everything that we have here

    13   today, and our investigation continues.      But if nobody is held

    14   accountable for this type of conduct, then the system is

    15   broken.    And I hope that's not the case.

    16       So, we had expected Sentinel and its owners to intervene

    17   and defend their conduct in this matter, but they chose not

    18   to, although I'm grateful that their attorney or at least the

    19   attorney of the individuals are here.

    20       I do want to point out just one clarification.        And Mr.

    21   Clubok or Mr. Seery may correct me.     But the directors at

    22   Sentinel today who authorized the entry into the MOU are new

    23   directors, and Mr. DiOrio and the others resigned as the heat

    24   was being turned up last spring.     They were replaced by new

    25   directors.   And that's, in our opinion -- this is not fact --




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     1   in our opinion, that's what enabled Sentinel to reach this

     2   agreement that Mr. Clubok described.

     3        But make no mistake.    We don't pretend that we know where

     4   all assets are.    We don't pretend that we know the value of

     5   the assets that may have been transferred.         But based on the

     6   evidence that Mr. Clubok and his team adduced during this

     7   adversary proceeding, the Debtor, Highland, does not believe

     8   it can defend against the claim, and therefore is prepared to

     9   withdraw its answer and confess to the permanent injunction

    10   that was sought by UBS.

    11        That's all I have.

    12              THE COURT:    All right.   Well, Mr. Clubok, I

    13   understood you were waiving your opening statement, correct?

    14              MR. CLUBOK:    Yes, Your Honor.

    15              THE COURT:    Okay.

    16              MR. CLUBOK:    I'll defer it to my presentation.

    17              THE COURT:    All right.   Mr. Morris, you may call your

    18   first witness.

    19              MR. MORRIS:    With that, we'll call James Seery.

    20              THE COURT:    All right.   Welcome back, Mr. Seery.

    21              MR. SEERY:    Good morning, Your Honor.

    22              THE COURT:    Please raise your right hand.

    23        (The witness is sworn.)

    24              THE COURT:    All right.   Thank you.    Mr. Morris?

    25                 JAMES SEERY, DEFENDANT'S WITNESS, SWORN




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     1                              DIRECT EXAMINATION

     2   BY MR. MORRIS:

     3   Q    Good morning, Mr. Seery.       Can you hear me okay?

     4   A    I can, yes.

     5   Q    Okay.

     6   A    Apologies on my end.      There is some construction in the

     7   background.     If it interferes, please let me know.       I'll try

     8   to speak loudly.

     9   Q    Okay.

    10                MR. MORRIS:   Your Honor, we're not going through

    11   every fact, and I actually don't even plan to share with Mr.

    12   Seery any particular exhibits, so that we can try to get

    13   through this fairly quickly.        But if Your Honor has any

    14   particular questions, of course, feel free to interrupt.

    15   BY MR. MORRIS:

    16   Q    Mr. Seery, can you please just describe at a general level

    17   your involvement with the Highland bankruptcy, including the

    18   timing and titles that you've obtained?

    19   A    Yes.    In the beginning of 2020, January 9th, I was

    20   appointed as an independent director by the Court.          Prior to

    21   that, I didn't have any involvement with Highland.          Prior to

    22   2008, the business I ran at Lehman did business with Highland,

    23   but between 2008 and 2020 I had no involvement whatsoever with

    24   Highland.     Was appointed as an independent director on January

    25   9th, working with John Dubel and Russ Nelms, who were also




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     1   appointed as independent directors.       And then in July, I

     2   believe, of 2020, I was appointed by the Court as the interim

     3   CEO and CRO of Highland Capital.

     4   Q    Okay.     Did there come a time that you learned of the UBS

     5   claim in this case?

     6   A    Yes.     I learned of the UBS claim before I was even

     7   appointed as an independent director.       UBS had gotten a

     8   decision prior to judgment in I believe November of 2019.

     9   Prior to my apartment, I did diligence, and one of the

    10   diligence items was to read that decision.

    11        Subsequently, in I believe it was February of 2020, UBS

    12   obtained an actual judgment against the two subsidiaries, both

    13   indirect, but CDO Funds, which was a little bit more direct

    14   subsidiary fund of Highland's, managed by Highland, and SOHC,

    15   which was a direct subsidiary of HFP, which is Highland

    16   Financial Partners, an indirect subsidiary of Highland.

    17   Q    And after being appointed, did the independent board do

    18   any work to try to understand, you know, the merits and

    19   potential defenses of the UBS claim?

    20   A    Absolutely.     This was one of the critical issues in the

    21   case.      This, as I said, was a billion-dollar judgment against

    22   subsidiaries, and the question was, was Highland liable?

    23   There was really no question that the subsidiaries were

    24   liable.      There was already a decision and a judgment in

    25   February.      But was Highland going to be liable for that




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     1   decision?

     2        UBS had theories, and we -- me, specifically -- did

     3   hundreds of hours' worth of research and work around the

     4   claims, and I'm sure my fellow directors read and analyzed

     5   documents similar to the way that I did.

     6   Q    And did Mr. Leventon and Mr. Ellington make any

     7   presentations to the board concerning the UBS claim?

     8   A    Yes.    Mr. Leventon was the point person at Highland

     9   managing the UBS litigation.       He had been, as he described to

    10   me directly on my first day, one of his chief jobs and one of

    11   the reasons he was hired was to help manage the UBS

    12   litigation.     He reported directly to Mr. Ellington, who was

    13   the general counsel and an officer of the general partner of

    14   Highland.     Mr. Ellington described himself as the person

    15   chiefly responsible for all negotiations with UBS.

    16        So, everything to do with the underlying transaction, the

    17   ten years of litigation, and the various stops and starts in

    18   potential settlements was encompassed by the knowledge held by

    19   Mr. Ellington and Mr. Leventon.

    20   Q    Can you describe for the Court kind of your understanding

    21   of the structure of the Highland legal department, the

    22   hierarchy and who reported to whom and who was there?

    23   A    Yes.    The legal department at Highland was a large group,

    24   headed by Mr. Ellington as general counsel.

    25        Mr. Leventon was responsible for all litigation.




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     1        Mr. Sevilla was a senior attorney who handled

     2   predominantly transactions.

     3        Mr. DiOrio was not an attorney but worked in the legal

     4   department.

     5        Ms. Irving was not an attorney but worked in the legal

     6   department.

     7        In addition, tangentially, or dotted-line, I think,

     8   basically report, the CCO, Thomas Surgent, was connected to

     9   the legal department.

    10        And Tim Cournoyer was a transaction lawyer in the legal

    11   department.

    12        Other lawyers had come in and out, and there was a

    13   paralegal, Helen Kim.

    14        Stephanie Vitiello was also an attorney in the legal

    15   department.

    16        But that was the core group when I became an independent

    17   director.

    18   Q    And I think you mentioned this at a very high level, but

    19   how did the board educate -- how did the board interact with

    20   the Highland legal group to educate itself on the merits of

    21   the UBS claim against Highland, the potential defenses that

    22   there was?    Just give us a sense of, you know, what the

    23   interaction was and what the interface was.

    24   A    Well, day-to-day -- and right at the beginning of the

    25   case, as I say, a critical issue -- a ton of time spent with




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     1   Mr. Leventon going through every aspect of the case.

     2        In addition, as I mentioned earlier, I read every document

     3   related to the transaction and every one of the court

     4   decisions that had been previously issued.      Many of those

     5   raised questions, and I'd address those generally to Mr.

     6   Leventon as the point person.

     7        There came a time in January or early February, pre-COVID,

     8   so on the premises of Highland, that there was at least one,

     9   possibly two, multi-hour meetings about the UBS litigation.

    10   Mr. Leventon led those discussions, really educating myself as

    11   the lead director, but also Mr. Nelms and Mr. Dubel as

    12   independent directors about this critical issue.

    13        Very specifically, Mr. Leventon provided a detailed

    14   PowerPoint deck which he went through.      And I recall it

    15   because it'll come up later on with another deck that we found

    16   from 2017 that had an unusual font, one that you typically

    17   don't seem in PowerPoints.     So Mr. Leventon presented that and

    18   walked through every step of the transaction, what in his

    19   view, or at least what he communicated to us, had happened,

    20   how the subsidiaries were set up, his statements that they

    21   were special purpose entities and that they had no assets, and

    22   how the litigation then unfolded after the default in 2000 --

    23   late 2008, early 2009.

    24   Q    And based on the review that you've described and your own

    25   due diligence, based on the facts that you had at the time,




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     1   did the independent board form a view as to its perception of

     2   the merits of UBS's claim against Highland Capital Management,

     3   LP?

     4   A     Yes.    I and the rest of the board, based upon the -- both

     5   the documents we reviewed and the description of the

     6   circumstances and the litigation provided to us by Mr.

     7   Leventon primarily and Mr. Ellington and the other people in

     8   the legal department -- and I should just, as an aside, say

     9   the ones in that meeting are Sevilla, DiOrio, Irving,

    10   Ellington, Leventon, nobody else.       I don't recall Stephanie

    11   Vitiello being in that particular meeting or meetings.          But

    12   our view that we developed from those -- from that work and

    13   from the independent work we did was that Highland didn't have

    14   any liability for the UBS judgments.        It was clear that the

    15   subsidiaries did, and the underlying documents made clear that

    16   they were responsible to UBS.       But our perspective from that

    17   work and the information we received from the legal department

    18   was that UBS was reaching, its claims were only against subs

    19   that never had any assets, and that Highland should not be

    20   held responsible for any of the damages from the transaction.

    21   Q     And do you recall, at around the time of the mediation in

    22   the summer of 2020, did UBS press their informational requests

    23   for documents concerning the assets of the funds?        Do you

    24   recall that at all?

    25   A     Yes, they did.     They actually started earlier, and we took




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     1   the perspective initially that we didn't need to provide any

     2   documents to them because we were going to really move for

     3   summary judgment.     We took a very aggressive posture in

     4   respect of that position.

     5        When we came to the mediation, there was a slightly

     6   different structure and relationship in that you're trying to

     7   work towards an understanding, so you really weren't able,

     8   between the parties and the mediators, you know, you weren't

     9   really able to say, we're not going to give you anything, so

    10   we took the perspective that we should just turn over

    11   everything because we've got nothing to hide.

    12        And UBS took that very directly and made pretty

    13   substantial discovery requests on us with respect to their

    14   claim and the mediation, particularly with respect to the

    15   underlying assets that they claimed that the CDO Fund and SOHC

    16   had and wanted to know what happened to them.       And the

    17   Highland legal department, as previously described, led by

    18   Leventon, said they didn't exist and there were no assets.

    19   Q    Did they in fact, though, identify, I think, two assets?

    20   A    Ultimately, --

    21   Q    (overspoken) and the Multi-Strat?

    22   A    Ultimately, they identified, and this was Mr. Leventon,

    23   cash that had been used for -- purportedly used for legal

    24   fees.      And it was a significant amount.   And that was a bit

    25   startling, because previously we'd been told there was no --




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     1   there were no assets there, so it was startling that all of a

     2   sudden, well, there was cash, but it was spent.       And we

     3   pressed Mr. Leventon on that.

     4        In addition, they identified interests in -- potential

     5   interests in an entity called Greenbrier.       And that was a very

     6   confusing description from Mr. Leventon, and it didn't make a

     7   lot of sense.     But if there was an asset in CDO Fund or SOHC

     8   that was owned and had value, then it should have been

     9   incumbent on Highland to discover that asset and use that

    10   asset in settlement, because, from our perspective, if there

    11   was anything in those subsidiaries, we should turn it over to

    12   UBS and try to use that to settle the litigation, because it

    13   would never come to Highland since these entities had

    14   judgments in excess of a billion dollars against them.

    15   Q    All right.

    16               MR. MORRIS:    Your Honor, just so the record is clear,

    17   the emails that relate to these issues can be found at

    18   Exhibits 5 and 6.     They're from August 2020.

    19               THE COURT:    Okay.

    20   BY MR. MORRIS:

    21   Q    And do you recall, in the fall, based on the information

    22   that the independent board had at the time, that the Debtor

    23   proceeded with their motion for summary judgment and their

    24   3018 hearing with UBS?

    25   A    Yes.    And previous to that, we'd gone through the




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     1   mediation with two experienced mediators.        It was a very

     2   intense experience.      Aggressive from both our side and UBS's

     3   side.      So we had gone through that mediation.

     4        We had endeavored during the mediation to provide

     5   discovery around this Greenbrier and any other assets.           Both

     6   Mr. Leventon and Mr. Ellington made very specific

     7   representations to me and to the board and to our counsel

     8   regarding lack of assets and the ability to find any assets

     9   and that there was really nothing there.

    10        So we went through the mediation and were unable to

    11   resolve anything with UBS.       The parties were incredibly far

    12   apart.      And we decided to move for summary judgment.        And that

    13   became a very tall order because of the complexity of the

    14   claims and the complexity of the underlying litigation.

    15        We dug in really hard on that, and ultimately had a

    16   hearing both with respect to summary judgment -- partial

    17   summary judgment as well as with respect to estimating UBS's

    18   claim.

    19   Q    And as the calendar rolled towards the end of the year, do

    20   you recall that the Debtor was preparing for confirmation?

    21   A    Yes.     We had developed the monetization plan in the late

    22   fall of 2020.      We were at the same time trying to structure

    23   potential settlements with the creditors.        We took the

    24   perspective with respect to UBS that it was unlikely we were

    25   going to get a settlement.       And so as we moved forward with




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     1   the plan, when looking at it, can see there's a lot of

     2   mechanisms that basically assumed that we won't be settled

     3   with UBS.     They'll be on an oversight board, but that

     4   ultimately we're going to be litigating with them to determine

     5   what their claim could be.

     6   Q    I'm not testifying, but I do remember there was an awful

     7   lot going on in January 2021.      Did you and the independent

     8   board ultimately reach an agreement in principle with UBS on

     9   the resolution of their claim?

    10   A    Yes.    And coming into -- your statement about January 2021

    11   is absolutely correct.     But it really went through the fourth

    12   quarter and then January 2021.

    13        As the Court will recall, we had a number of hearings in

    14   December of 2020 that were intense:      contempt, injunction,

    15   preliminary to the plan process, disclosure statement.         There

    16   were depositions.     There were challenges -- there were

    17   significant challenges to Highland's management of both its

    18   assets and managed fund assets.

    19        We discovered some significant problems with what we

    20   thought was going on in the legal department at that juncture,

    21   which led to the termination of Mr. Ellington and Mr. Leventon

    22   on January 5, 2021.     And then January 2021 was chockful of

    23   hearings from contempt to HarbourVest to preliminary

    24   injunction, and ultimately confirmation at the beginning of

    25   February.




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    1   Q    Did the termination of Mr. Leventon in particular have any

    2   impact on the independent board and management's ability to

    3   access information?

    4   A    Well, both Mr. Leventon and Mr. Ellington then opened up

    5   -- which we probably could have done before -- but opened up

    6   our access to their email accounts.      And in respect of Mr.

    7   Leventon, an interesting thing happened when I went to send

    8   him his termination notice.     Microsoft Outlook thankfully

    9   filled an entity called SAS Management into the address bar.

   10   And I didn't know what SAS Management was.      I had no

   11   familiarity with it.     It wasn't something I'd seen.     So I

   12   tasked outside counsel, Mr. Demo, as well as DSI, Mr. Romey,

   13   to figure out what SAS was and why that was showing up for Mr.

   14   Leventon.    That led us to do reviews of their email, and

   15   particularly Mr. Leventon, a significant amount of information

   16   that we developed over the next several months.

   17   Q    And did you instruct my colleague, Mr. Demo, and DSI to

   18   continue to pursue, you know, any information relating to SAS?

   19   A    Absolutely.    What we did was we -- at the same time we

   20   were doing this, we were trying to settle with UBS.        One of my

   21   fellow directors was really leading that.      I didn't think

   22   there was much chance of settling with them, primarily because

   23   I thought there was no way to bridge the gap.      And frankly, I

   24   was of the firm, firm view that Highland shouldn't have any

   25   liability because the allegations that Highland had prevented




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     1   UBS from recovering on its judgments really didn't have any

     2   basis based on the facts that I had at the time.

     3        But as we continued to look at what SAS might be and

     4   whether that was an asset of the Debtor and what it meant to

     5   the Debtor, whether Debtor employees were involved, we started

     6   finding more and more information about other assets and other

     7   dealings with respect to UBS.

     8        We did find that this SAS entity had been around for quite

     9   some time.     It was, in essence, a secret entity.    The legal

    10   department -- Ellington, Leventon, Sevilla, Vitiello, I

    11   believe, Irving, DiOrio -- all had SAS, my recollection is all

    12   had SAS Management emails.      They were stored on a separate

    13   server so we couldn't uncover those.       We could only find

    14   things that were sent to the SAS server.

    15   Q    And did any of those individuals share with you or the

    16   Debtor's professionals any substantive information concerning

    17   SAS at the time?

    18   A    None at all.     What we did do, though, is because we could

    19   then use SAS to search through the entire Highland databank,

    20   we did find -- let's see how to describe it; we have a

    21   colloquial term that I won't use -- but charts that showed the

    22   ownership of SAS and the -- and that led to the ownership of

    23   Sentinel.     And we didn't know what Sentinel was, but one of

    24   our outside professionals recalled Sentinel is a redeemer out

    25   of the Multi-Strat fund.      So that got us looking at who is




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     1   Sentinel and who owns Sentinel.

     2        The records were ultimate beneficial owner, what they call

     3   UBOs, but because of the requirements of the Cayman

     4   authorities, ultimately Mr. Ellington and Mr. Leventon -- Mr.

     5   Dondero had to produce their passports and information to show

     6   the ultimate beneficial owners, but they're never actually

     7   listed as Mr. Ellington and Mr. Dondero.       They're only listed

     8   on the charts as UBO 1 and UBO 2.

     9        And that shows a whole bunch of different entities,

    10   including SAS.     And apparently, Ms. Irving worked on a lot of

    11   this stuff in the Caymans for either SAS or for these other

    12   entities, notwithstanding being a full-time employee of

    13   Highland in the legal department.

    14   Q    Was -- do you recall if Matt DiOrio was involved in

    15   responding to the requests of you and your team in January and

    16   early February 2021?

    17   A    Yes.    So, after Mr. Leventon's termination, Mr. DiOrio was

    18   tasked by Mr. Demo and Mr. Romey to help figure out what SAS

    19   was, what Sentinel was, and any information regarding these

    20   Cayman entities.

    21        He professed ignorance.       We now know that he was a

    22   director at the time of his protestations of no knowledge.

    23   And in addition, he, with respect to other people on the email

    24   chain, texted some and said, I've got this, notwithstanding

    25   that he didn't produce any information, even though he had




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     1   been directly asked for it.

     2   Q    When you say that --

     3              MR. MORRIS:   Ms. Canty, can you put up Exhibit 10?

     4   It's just a text message.     I just want to make sure the Court

     5   understands the context for Mr. Seery's testimony.

     6        But Your Honor, while she's doing that, I would just point

     7   the Court to Highland's Exhibits 7 and 8, which are other

     8   lengthy email strings from late January 2021 where, at Mr.

     9   Seery's direction, the Debtor's professionals were seeking

    10   information about these matters.

    11        And if we could just scroll down here, what's on the

    12   screen now is Exhibit 10, Your Honor.

    13   BY MR. MORRIS:

    14   Q    Mr. Seery, can you just describe for the Court what your

    15   understanding of this text message is?

    16   A    See if I can see it.    This is a text message from DiOrio

    17   to Thomas Surgent.    Thomas, as I said, is in the legal

    18   department tangentially, but is really the CCO.      This is Mr.

    19   DiOrio telling Mr. Surgent, I've got the request, you don't

    20   have to worry about it.

    21        And so that led to a number of obfuscating emails as well

    22   as a failure to respond and significant delays.      Ultimately,

    23   when -- and I'm not sure if this was before Mr. DiOrio was

    24   terminated or after he was terminated, as soon as we went to

    25   Mr. Surgent directly, he quickly provided the documents --




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     1   searched for them and found the documents that we needed on

     2   the Highland system.

     3   Q    Okay.    So let's --

     4                MR. MORRIS:    We can take that down now.    Thank you

     5   very much.

     6   BY MR. MORRIS:

     7   Q    Let's just go to the next step.         What does the independent

     8   board learn in late January or early February -- withdrawn.

     9   Did there come a time when the independent board made a

    10   disclosure to UBS?

    11   A    Yes.    So, as we were doing this work in January and early

    12   February -- and remember, as I said earlier, this is while

    13   there's probably five to ten hearings going on that are

    14   crucial in the case.       I'm giving multiple depositions.    We're

    15   trying to figure out assets.         We're terminating employees.

    16   We're negotiating or attempting to negotiate a transition

    17   agreement for the businesses.        It was incredibly busy.

    18        But we came across this Sentinel entity, and we came

    19   across the fact that it was a redeemer in Multi-Street, and

    20   then ultimately led us to find the after-the-event insurance

    21   policy, this ATE policy, which I'm not an insurance expert but

    22   I know enough that it's not really a thing.         There's after-

    23   the-event policies that typically cover attorneys' fees in a

    24   loser-pays jurisdiction.       There's no such thing as a policy

    25   where you go to an insurance company and take $100 million




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     1   worth of assets and buy $100 million worth of coverage.           It

     2   doesn't provide you any benefit.      It's not a thing.

     3   Q    So, we did --

     4   A    But my point -- sorry, John, I digressed.        We have -- we

     5   have the contempt, we have all these different things going

     6   on, and we're finding different information.        And we find out

     7   about this policy as negotiations at the same time is going on

     8   with UBS to try to reach a settlement on their claim.          And

     9   that was directed by one of the other directors as this was

    10   going on.

    11        And recall that the policy was purchased by CDO Fund and

    12   SOHC.      As I said, SOHC is an indirect subsidiary.    So is CDO

    13   Fund.      But CDO Fund was controlled by Highland.    Highland

    14   controlled the GP.      Highland controlled SOHC.   That policy was

    15   the only asset -- I mean, CDO Fund.       That's the only asset of

    16   CDO Fund.      Highland's control of that is a valuable asset of

    17   Highland, but it's been hidden from Highland.       Completely

    18   hidden.

    19        We discover it.     We had reached a settlement with UBS

    20   while we were doing this work, but we didn't -- we hadn't

    21   discovered this, all of this information.       I think we

    22   announced the settlement with UBS at the -- at the

    23   confirmation hearing.      I think it was on February 2nd.     And

    24   later on in the month, as we were working on documenting that

    25   settlement -- and documenting a settlement with UBS and the




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     1   Latham team is not an easy thing.     Not because they're not

     2   good to their word; they're just (audio gap), as maybe I am.

     3   And so that getting that deal documented was taking a while.

     4   And we discovered this information, and I couldn't go forward

     5   with a deal with UBS, knowing the information I had without

     6   sharing that information with them, because it would have been

     7   fraudulent, in my opinion.

     8        And so we told them we're not going to enter the

     9   settlement agreement.     They were a bit shocked.    And we told

    10   them, well, we need to tell you why.       And then we laid out the

    11   information to them, which initially set them back to figuring

    12   out what they wanted to do, and then ultimately came back to

    13   the table to renegotiate the settlement agreement with them.

    14   Q    And as a result of the information that the Debtor shared

    15   with UBS, did UBS and the Debtor renegotiate the deal that

    16   they had presented to the Court at the confirmation hearing?

    17   A    We did.   And the dates on that are March 21 into April.

    18   So we've got a decent amount of information.      Not everything,

    19   but we've got a decent amount of information that maybe some

    20   of their allegations about Highland interfering with their

    21   judgment activities was true.     And we renegotiated that

    22   settlement, upping the claims by about $50 million, the

    23   allowed claims that they would get.

    24   Q    Why did the independent board decide to share this

    25   information with UBS at the time that it did?       Why not just




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                                   Seery - Direct                        40


     1   take the deal that you had?

     2   A    Well, number one, first and foremost, we're fiduciaries.

     3   And we're fiduciaries to the estate.       Our job is not to

     4   defraud the creditors.     It's to fight hard to make sure that

     5   legitimate claims are allowed but that illegitimate claims are

     6   kept out.    And we thought, both myself and the other

     7   directors, that we couldn't enter into a settlement in good

     8   faith when we have knowledge that the underlying facts that

     9   the counterparty were relying on were untrue and that we'd

    10   provided a lot of that information to them.       We had

    11   represented to them that there were no assets based upon the

    12   information we had been given by Leventon and Ellington in

    13   particular.

    14   Q    Do you recall that right around the time the parties

    15   presented their proposed settlement to the Court UBS also

    16   commenced this action?

    17   A    Yeah.    I think it was -- it was probably the next day.

    18   Q    Uh-huh.

    19   A    And recall that all of this is while the transfer took

    20   place two years prior to filing.     All of this cover-up.      All

    21   of this misdirection.     All of the expenditure and the

    22   additional damages that Highland suffers is postpetition by

    23   officers and attorneys at Highland.      In-house senior attorneys

    24   on the payroll full-time at Highland.

    25   Q    After the action was commenced -- withdrawn.      Did the --




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                                   Seery - Direct                           41


     1   did Highland agree to temporary and preliminary injunctive

     2   relief?

     3   A    I believe we agreed to the temporary preliminary

     4   injunction.    But we had not yet settled the action completely.

     5   Q    And why is that?    Why did the Debtor agree to the

     6   temporary relief but not the permanent relief?

     7   A    Well, the information that we had certainly justified at

     8   least a preliminary injunction, in our opinions, because there

     9   were -- we didn't have all the information, but it was very

    10   clear that there had been material asset transfers and that

    11   funds were going to continue to run through the assets that

    12   either Highland had or Highland managed that would continue to

    13   flow to this Cayman entity.

    14        And those funds had flowed during the case.      And in fact,

    15   during the case, some of these same individuals, during the

    16   bankruptcy case, moved assets around in the Caymans.          It

    17   wasn't as if they'd forgotten about them.

    18        So we felt that at least a preliminary injunction to keep

    19   the status quo and prevent further leakage of assets and

    20   protect potentially liability for Highland was appropriate.

    21   That subsequently led us to do additional work, and we really

    22   didn't have enough at that time to just agree to consent to

    23   the judgment.

    24   Q    And with respect to discovery, are you aware of any

    25   additional documents that were uncovered after the action was




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                                   Seery - Direct                        42


     1   commenced?

     2   A    Yes.    UBS commenced discovery, both document discovery and

     3   depositions.     And while discovery in the Caymans is not

     4   usually that easy, or any foreign jurisdiction, in my

     5   experience, the manager, the accounting manager for Sentinel

     6   was actually a U.S. entity called Beecher Carlson.        And UBS

     7   and Latham did a significant amount of discovery with respect

     8   to those entities, both depositions and documents, many of

     9   which we've seen, one of which you alluded to today which we

    10   didn't know about prior to that, which is this indemnification

    11   agreement from June 2020.

    12        And by the way, that indemnification agreement has been

    13   used.   Sentinel paid Baker & McKenzie fees, Sentinel paid Ross

    14   & Smith fees, from what we've seen and what we've seen in the

    15   depositions.     I think it was prior to the indemnification,

    16   there's hundreds of thousands of dollars of hit to the policy

    17   from personal expenses of Scott Ellington postpetition run

    18   through Sentinel.

    19        So we learned about the indemnification.       We learned about

    20   the payments.     We learned about more of the transfers.      We

    21   learned about attempts during the case to move assets out of

    22   Sentinel, calling them worthless.      And it became very clear

    23   that this was a really organized, orchestrated attempt to hide

    24   these assets from the estate and prevent Highland as the

    25   Debtor from controlling a CDO Fund asset that really would




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                                  Seery - Direct                         43


     1   have changed the dynamic of the case completely.      We wouldn't

     2   have been spending tens of millions of dollars fighting with

     3   UBS, thousands of hours fighting with UBS, if we could have

     4   used an insurance policy or the assets to help arrange a

     5   settlement.

     6   Q   There was a suggestion early on after this adversary

     7   proceeding was commenced, I think it was in the context of a

     8   motion to quash, that maybe this is a friendly litigation and

     9   it's not really adversarial.      Do you have a view as to whether

    10   or not this has been an arm's length adversary proceeding?

    11   A   Everything with UBS and with Latham & Watkins is very

    12   arm's length.    This is a pretty aggressive group.    And I say

    13   that respectfully.    I don't say that in a negative way at all.

    14   It's been that way from the start.     And even in this

    15   litigation post our settlement with UBS, we have a number of

    16   material disputes regarding costs, regarding the breadth of

    17   the depositions and the discovery they want from us.      They're

    18   pretty exhaustive.    And we have worked through a number of

    19   those disputes, but it has not been easy.      It's certainly

    20   arm's length.

    21   Q   All right.     Finally, Mr. Seery, why are we making this or

    22   why is the Reorganized Debtor making this motion now?

    23   A   We have spent a tremendous amount of time and money on

    24   disputes with UBS, both prior to settlement and with respect

    25   to this lawsuit.    From what we see now -- and I'm sure we




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     1   don't know everything; we continue to do work -- there is no

     2   benefit to the estate, the reorganized entity, from continuing

     3   to fight this dispute.     I don't think we have a good faith

     4   basis to do so.

     5        And to the extent that the injunction, a permanent

     6   injunction subsequent -- subject to a resolution can help

     7   finally resolve the issues with Sentinel -- as you mentioned,

     8   Mr. Morris, the directors at Sentinel are new directors.

     9   There has -- we've spent a lot of time working with the

    10   parties with respect to our claims from CDO Fund under the

    11   policy, a mediation in that action as well.      And if that

    12   resolution can get done, that'll be of benefit to Highland and

    13   all of the respective parties.

    14              MR. MORRIS:    I have nothing further, Your Honor.

    15              THE COURT:    All right.   Mr. Clubok, any questions?

    16              MR. CLUBOK:    A very brief follow-up, Your Honor, just

    17   to clarify a couple of points.

    18              THE COURT:    Okay.

    19              MR. CLUBOK:    May I proceed?

    20              THE COURT:    You may

    21              MR. CLUBOK:    Okay.

    22                             CROSS-EXAMINATION

    23   BY MR. CLUBOK:

    24   Q    Mr. Seery, I want to take you back to the document

    25   requests that UBS made once we had gotten to the point where




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     1   you had made it clear to both UBS and to your team that you

     2   were going to provide whatever information you had.

     3   A    This was around the summer of 2020, prior to the

     4   mediation, or as we were going through the mediation?

     5   Q    Exactly.

     6   A    Okay.

     7   Q    Exactly.    Okay.   And just to orient you, I would like to

     8   put up what we've marked as Exhibit 57.       Exhibit 57 was not

     9   previously marked explicitly, but it is a deposition exhibit.

    10   You'll recognize it, Mr. Seery and Mr. Morris.       It was

    11   Deposition Exhibit 69 to your deposition, Mr. Seery.           And we'd

    12   like to mark it, for the purpose of this hearing, Exhibit 57.

    13   This was UBS's first request for production of documents to

    14   Debtor Highland Capital Management, which is I think what

    15   you're referring to.      Do you recognize that document?

    16   A    I do, yes.

    17   Q    Okay.    And I'm going to specifically turn your attention

    18   to Request No. 8.     Request No. 8 asked for all documents

    19   pertaining to the assets and liabilities of HFP, CDO Fund, and

    20   SOHC, including but not limited to -- and then there's a

    21   number of subparts.      Do you see that?

    22   A    Yes.

    23   Q    And if we can turn -- and, actually, in the very first

    24   one, A, you can see it talks about consolidating standalone

    25   financial statements from December 2007 through December 2019,




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    1   or the most recent period available.           Do you see that?

    2   A      Yes.

    3   Q      And there's a number of other requests, but --

    4                 THE COURT:    Mr. Clubok, let me interrupt a minute.

    5   Do you have an exhibit up on the screen?           I am not seeing it.

    6   But I can pull it up off the docket if you tell me again which

    7   one it is.

    8                 MR. CLUBOK:    I'm sorry.     Exhibit 57.     It's showing up

    9   on my screen.      Ms. George has put it up.       Does it not show up

   10   on your screen, Your Honor?           Oh.

   11                 THE COURT:    No.   Do you know what -- just a moment.

   12          (Pause.)

   13                 MR. CLUBOK:    If I may, Mr. Morris, can you see it?

   14                 THE COURT:    Okay.    Yes.   We're -- the court reporter

   15   informs me we have --

   16                 MR. MORRIS:    I can.

   17                 THE COURT:    -- something frozen on -- where we're

   18   supposed to get the document.            She's called IT.    But I can

   19   pull it up on the ECF, I hope.           So, you said 57?     No?

   20                 MR. CLUBOK:    Well, unfortunately, Your Honor, this is

   21   the one exhibit that we didn't explicitly mark in our amended

   22   179.    It is referred to because it was an exhibit to the

   23   deposition of Mr. Seery.

   24                 THE COURT:    Okay.

   25                 MR. CLUBOK:    So we didn't individually mark this one.




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     1   So I'll just narrate it.     I don't think you need to see it.

     2              THE COURT:    Okay.    Okay.

     3              MR. CLUBOK:    You can confirm later.

     4              THE COURT:    Okay.

     5              MR. CLUBOK:    It is -- Exhibit 57 is the -- is UBS's

     6   first request for production of documents to Debtor Highland

     7   Capital Management.      And it is a series of requests -- I'm

     8   sorry, is the first official request, or I should say the

     9   first document request, but I think even before this we had

    10   exchanged information requests as well.

    11   BY MR. CLUBOK:

    12   Q    Is that correct, Mr. Seery?

    13   A    That's correct.     Do you recall the date on this document,

    14   Mr. Clubok?

    15   Q    This particular document is dated September 28, 2020.            So

    16   this would have been the formal document request that

    17   encapsulated our discussions that were either communicated

    18   more informally or as information requests.

    19   A    That's my recollection.          I think this would have been

    20   during the mediation.     I think the first session had already

    21   happened, and there was discussion informally or during the

    22   mediation that this would have been a document request.          My

    23   recollection is it's more from UBS to more formally

    24   crystallize requests that had been made during the mediation

    25   -- during and before the mediation.




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     1   Q    All right.

     2               MR. CLUBOK:    And by the way, Your Honor, I do see

     3   that this is Bankruptcy Docket 1345, I believe, if that's

     4   helpful.

     5               THE COURT:    Okay.    Could you repeat the number again?

     6               MR. CLUBOK:    1345.

     7               THE COURT:    Okay.

     8   BY MR. CLUBOK:

     9   Q    Mr. Seery, I just want to -- I want to direct your

    10   attention to, in particular, Subparts I and J.           And this, in

    11   Subpart I, if we can hopefully get it on the screen, but if

    12   not I'll read it, it asks for a monthly roll-forward of the

    13   itemized asset listing and corresponding values requested

    14   above from December 31, 2007 through August 31, 2020 or the

    15   most recent period available.          Here we go.   And we now have it

    16   on the screen, hopefully, and I just read part of Subpart I.

    17   Up on the screen.

    18        Also, Subpart J asked for all activity associated with the

    19   itemized assets requested in Items H and I.          For each one, a

    20   transaction listing of all related parties or affiliated

    21   transactions, including date and amount of transaction, et

    22   cetera.

    23        Do you see that?

    24   A    Yes.

    25   Q    In a nutshell, these requests and the prior requests that




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     1   we had been discussing for the months leading up to that, in

     2   sum and substance is it fair to say that you understood that

     3   what UBS was looking for was the complete financial picture of

     4   the assets that these funds -- namely, HFP, CDO, and SOHC --

     5   had from the time of the original dispute through the present?

     6   A    Yeah.    I think that's fair.

     7   Q    And that was, in fact, very clear to you, that that's what

     8   UBS was asking for in a paraphrased nutshell?

     9   A    Yes.

    10   Q    Okay.    And it's true that you tasked your in-house legal

    11   team with coming up with a substantive -- or, identifying the

    12   information that could form the response to these requests?

    13   A    Yeah, that's true, with -- with outside counsel as well.

    14   Q    Right.    But you in particular tasked Mr. Leventon and Mr.

    15   Ellington in the first instance for identifying that

    16   information to provide to your outside counsel to be provided

    17   to UBS, correct?

    18   A    Yeah.    I think that's fair.    They were working together,

    19   though.     It was going to be -- Ellington and Leventon had

    20   access to the systems and the ability to get the information.

    21   How to present it and making sure that it was compliant with

    22   discovery requests would have been more of an outside counsel

    23   task.

    24   Q    Now, prior to getting these requests, even, or maybe when

    25   you initially got these requests, Mr. Ellington and Leventon




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     1   had advised you, in words or substance -- I'm not quoting

     2   them, but I want to get the gist of what they said -- that, in

     3   fact, these entities had lost all of their value during the

     4   financial crisis of 2008 and the years thereafter, correct?

     5   A    That's correct.

     6   Q    And they told you that these entities had basically no

     7   remaining value at all, no assets left at all.       Correct?

     8   A    That's correct.     Even more than that, initially, these

     9   were described to us as shell entities.       The only assets they

    10   would have had were assets that were moving in and out of the

    11   UBS warehouse.     So it was -- they weren't going to be entities

    12   that ever were, as described to us, asset -- entities that

    13   held any sort of material assets at all.

    14        And then subsequent to the financial crisis, the

    15   information they gave us was that there was no -- there was no

    16   -- there were no assets there.

    17   Q    Yes.    It wasn't just that there was a net negative value;

    18   it was that there were no assets at all, supposedly.           Correct?

    19   A    Correct.

    20   Q    And yet when UBS pressed harder for information about

    21   assets, eventually Mr. Leventon started to disclose that in

    22   fact there were at least some assets in these entities, and

    23   specifically CDO Fund.      Correct?

    24   A    That's correct.     As I mentioned earlier, he showed us a

    25   spreadsheet with expenditures, millions of dollars of




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     1   expenditures for legal fees, which was surprising based upon

     2   the fact that if these -- the prior statements that these

     3   assets had no value, or these entities had no value, how,

     4   then, did they have cash to spend millions of dollars on legal

     5   fees?

     6   Q    But even when he -- and by the way, it came as a surprise

     7   to you to learn that, in fact, instead of zero assets, there

     8   were at least some assets remaining, correct?

     9   A    That's correct.

    10   Q    And then even when Mr. Ellington disclosed that additional

    11   information, he never disclosed anything about the hundreds of

    12   millions of face value in assets that had been transferred out

    13   of these funds just a few years prior.       Correct?

    14   A    That's right.    Yes.    It was never disclosed to either me

    15   or my independent -- fellow independent board members, or, to

    16   my knowledge, to counsel or outside consultants.

    17   Q    Okay.   Mr. Seery, I just want to end with a clarification

    18   of your role and why this injunction is proper.         It's correct

    19   to say that Highland is the portfolio manager of an entity

    20   we've been calling Multi-Strat, correct?

    21   A    That's correct.    I'm not sure if under the docs it's

    22   called portfolio manager or collateral manager, but Highland

    23   is that entity, yes.

    24   Q    And as the CEO, you are responsible for directing the

    25   efforts of Highland with respect to its role as the manager of




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     1   Multi-Strat, correct?

     2   A    That's correct, yes.

     3   Q    And just -- I think the Court has heard these names below

     4   -- the entity that we're calling Multi-Strat has also been

     5   called Credit Opportunities in the past?      That's

     6   interchangeable for purposes of this proceeding; is that

     7   correct?

     8   A    Yeah.   But there's a number of different Credit

     9   Opportunity-type funds that Highland has had over the years,

    10   but you'll see that in a number of the documents before the

    11   name was changed to Multi-Strat.

    12   Q    Okay.   And with respect to CDO Fund, it is fair to say

    13   that Highland Capital Management had control of CDO Fund as a

    14   director and as a direct owner of the CDO Funds through its

    15   general partner, correct?

    16   A    Yeah, through the general partner interest, yes.         So,

    17   Highland owns CDO Funds GP, which can direct CDO Fund.         I

    18   believe we had LP units as well, but there were also third-

    19   party limited partners in that entity pre-financial crisis.

    20   Q    And with respect to Multi-Strat, in addition to acting as

    21   Multi-Strat's investment manager, Highland Capital also is the

    22   indirect hundred-percent owner of Multi-Strat's general

    23   partner as well, correct?

    24   A    Of the GP, that's correct, and we own about roughly 55 to

    25   60 percent of the LP interests.




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    1   Q    And finally, Mr. Seery, you knows there's a TRO or

    2   temporary restraining order already issued by the Court in

    3   connection with this proceeding?

    4   A    Yes.    And we've adhered to that order.

    5   Q    But absent having that order, you would have had -- you

    6   would have felt obligated previously to transfer funds that

    7   are currently being restrained by this order, correct?

    8   A    That's correct.       Our perspective of the documents and the

    9   role of the collateral manager is that, at least with respect

   10   to Multi-Strat, but also with respect to funds that we turn

   11   over to trustees on certain CLOs, which then flow to -- could

   12   flow to Sentinel without the TRO, those would have flowed,

   13   those funds.

   14   Q    Okay.    Thank you, Mr. Seery.

   15                MR. CLUBOK:    I have nothing further.

   16                THE COURT:    All right.

   17                MR. MORRIS:    No redirect, Your Honor.

   18                THE COURT:    Okay.   Then I have a couple of questions.

   19                         EXAMINATION BY THE COURT

   20                THE COURT:    I just want to make sure I understand the

   21   relevance of this line of questioning about Multi-Strat.          I

   22   remember Multi-Strat.       There was an adversary proceeding that

   23   I just had in front of me last week, a motion to dismiss.          So

   24   I remember what it is.       It was a fund that, among other

   25   things, or maybe it mainly owned the viaticals.        But I'm




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     1   trying to understand the significance of Multi-Strat to these

     2   two funds we're talking about right now.

     3              THE WITNESS:   So, I'll be happy to walk you through,

     4   Your Honor.    Multi-Strat, when the case started, owned certain

     5   life policies.

     6              THE COURT:   Right.

     7              THE WITNESS:   It owned some other assets as well, and

     8   it owned a lot of MGM.    The life policies -- and it's not fair

     9   to call them a portfolio.     They are -- they were eleven

    10   policies on eight lives.     When the case started, the premiums

    11   on those policies were substantial, and we didn't have the

    12   funds to make payments.     Multi-Strat didn't, and Highland

    13   didn't, with the Committee's involvement, other than an

    14   initial payment and to keep the policies alive, didn't have

    15   the funds to invest in Multi-Strat.

    16        So Multi-Strat ran an auction and sold those policies

    17   above the market value.     So it was a full, open auction, it

    18   was a successful auction, and it was sold for more than the

    19   values that had been maintained by Highland prior to the

    20   filing.

    21        As an aside, or there's two asides, one is part of the

    22   reason you had to get rid of the -- or sell the Multi-Strat

    23   policies was that they were security for a loan to NexBank.

    24   And so that loan had to get paid off to free up value to

    25   Multi-Strat.    Multi-Strat is a separate fund that Highland




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     1   manages that, in addition, fast forward, no one -- there

     2   hasn't been an event on those policies since we sold them in

     3   the first quarter of 2020.      That means no one passed away up

     4   until at least a month or so ago, and premiums would have been

     5   in excess of $22 million by now, which Multi-Strat didn't

     6   have.      So that's the life policy part of that.

     7        In addition, as I said, Multi-Strat owned other assets,

     8   including MGM.      Also, some of that was secured or provide

     9   security to NexBank for a loan that Multi-Strat had taken out

    10   previously.

    11        The reason Multi-Strat took out a loan, my recollection

    12   is, a number of investors in Multi-Strat had tried to redeem.

    13   Most of those were offshore investors in either Australia or

    14   Japan, and basically Highland told them, Thanks for your

    15   redemption, but we're not paying you.       We're not closing the

    16   fund down.     And the documents allowed those redeemed interests

    17   to sit out there, and they basically functioned like non-

    18   cumulative preferred, meaning they didn't increase in interest

    19   rate but they had a fixed claim.

    20        Amongst those redeemers was Sentinel.      And so when we

    21   learned about the Sentinel involvement, we didn't really know

    22   who Sentinel was, one of our outside advisors said, They're

    23   one of the redeemers in Multi-Strat.       That got us looking even

    24   further.

    25        But Multi-Strat's involvement in this litigation, or the




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     1   UBS litigation, relates to some fraudulent conveyances that

     2   UBS alleged that happened back in 2009, 2008-2009, where

     3   Multi-Strat and other funds were making contributions in to

     4   try to support the UBS transaction from the Highland

     5   perspective, and then when it looked like that transaction

     6   wasn't going to work out, a bunch of those assets went back

     7   out.

     8          There was a so-called -- it was very oddly named -- but

     9   basically a note transaction.     A bunch of assets went in,

    10   Multi-Strat and other entities got a note, and then there was

    11   basically -- I forget what they called it, but it wasn't a --

    12   they didn't call it satisfaction.     It was basically they

    13   ripped up the trade and gave the assets back.      And UBS had

    14   issues with that.

    15          So when we sold the life policies, it was actually very

    16   difficult, because one of the buying entities had done their

    17   diligence and they saw that UBS had a claim against Multi-

    18   Strat, and unless we could get a stipulation with UBS we

    19   weren't going to be able to sell those policies.      If we

    20   weren't able to sell those policies, we didn't have the money

    21   to pay the premiums, they would have expired worthless.        So we

    22   cut an initial deal with UBS.

    23          So they -- they've been in and around the Multi-Strat for

    24   14 years.    And ultimately Multi-Strat settled with UBS for

    25   $18-1/2 million.    That was in the original UBS settlement.




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     1              THE COURT:    Okay.

     2              THE WITNESS:    When we learned of all the Sentinel

     3   issues and these transfers, UBS took the position that we

     4   should start over and we took the position that, no, based on

     5   what we see, we've -- Multi-Strat has settled, but these other

     6   allegations relate more to Highland liability, CDO and SOHC

     7   liability, not to Multi-Strat liability.

     8        So that $18-1/2 million piece didn't change.        The extra

     9   $50 million in claims was just claims against Highland, not

    10   against Multi-Strat.      And Multi-Strat has subsequently settled

    11   its issues with UBS by paying the $18-1/2 million.         It had

    12   previously sold the life policies, freeing up the liens from

    13   NexBank and paid off NexBank.         And it subsequently made

    14   distributions and redeemed all of the redeemers save Sentinel.

    15   That money is set aside because of the TRO.

    16        And some day there will be more about Multi-Strat and the

    17   attempts to, according to the Multi-Strat investors, rip them

    18   off for their interests, redeemed interests.        And we do have

    19   signed documents evidencing that.         But we'll get to that

    20   another day.

    21              THE COURT:    All right.

    22              MR. MORRIS:    Your Honor, if I may, can I just ask a

    23   --

    24              THE COURT:    Go ahead.

    25              MR. MORRIS:    -- question or two, a follow-up




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     1   question?

     2                                REDIRECT EXAMINATION

     3   BY MR. MORRIS:

     4   Q      Mr. Seery, just to make this clean, does Sentinel have a

     5   redemption interest in Multi-Strat?

     6   A      Yes.

     7   Q      And does Highland control Multi-Strat?

     8   A      Yes.

     9   Q      And is the TRO or now the permanent injunction designed to

    10   prevent Highland from paying anything to Sentinel on account

    11   of its redemption interest?

    12   A      That's my understanding, yes.

    13   Q      Okay.

    14                  MR. MORRIS:    Your Honor, does that clear it up for

    15   you?

    16                  THE COURT:    It does.   And I think probably some of

    17   this was explained to me way back when I --

    18                  MR. MORRIS:    Yeah.

    19                  THE COURT:    -- was presented with the 9019 settlement

    20   with UBS.       But, shockingly, I'm a little -- I was a little

    21   fuzzy on the Multi-Strat part of that.

    22                  MR. MORRIS:    There's a lot.

    23                  THE COURT:    Mr. Seery, --

    24                  MR. CLUBOK:    Your Honor, may I ask just one -- may I

    25   ask just one follow-up question, just to tie this up in a bow,




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                                   Seery - Recross                       59


     1   to make it extra clear?      There's one other element to this --

     2              THE COURT:    All --

     3              MR. CLUBOK:    -- that I just want to make sure is

     4   clean.

     5              THE COURT:    All right.   You may.

     6                             RECROSS-EXAMINATION

     7   BY MR. CLUBOK:

     8   Q    And Mr. Seery, that redemption interest that is currently

     9   on the books as being in favor of Sentinel, that is one of the

    10   assets that was transferred by CDO Fund to purportedly buy

    11   this so-called insurance policy, correct?

    12   A    Part of that is.     It has multiple parts.   It's all covered

    13   in the memorandum of understanding.      But the big piece of it

    14   is, yes.

    15   Q    Thank you.

    16              THE COURT:    All right.   And another loose end I want

    17   to tie up.

    18                         EXAMINATION BY THE COURT

    19              THE COURT:    I just want to be clear on the $100

    20   million of market value of transferred assets.      I think I

    21   heard that they were not all transferred in August 2017.

    22   There had even been some transfer of value postpetition.        Is

    23   that correct?

    24              THE WITNESS:    So, the transaction was structured so

    25   that all of the assets would transfer in 2017.      The value --




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     1   the face amount of those is north of $300 million.       The fair

     2   market value, according to a Highland tax memorandum, we

     3   didn't value it in 2 -- as of -- we didn't retroactively look

     4   back and try to put a value on it.     But according to a

     5   Highland tax memorandum written by one Shawn Raver, is north

     6   of $100 million.

     7        The -- all of the assets didn't -- didn't effectively

     8   transfer.    It looks like certificates were lost in transit,

     9   which just doesn't happen very often, but in this case it

    10   seems to.    So some of the assets didn't transfer.

    11        So, pre- and postpetition, while that was going on,

    12   Highland employees were advising the trustees for those assets

    13   -- these are Highland-managed CLOs where there's a trustee in

    14   place, and the assets are preferred shares in the CLOs -- when

    15   those preferred shares were due cash, they would go to the

    16   trustee.    The trustee would see that CDO Fund still owned the

    17   asset because the transfer didn't make it all the way to

    18   Sentinel, and the trustee would deposit those into a CDO Fund

    19   account.    Highland employees were directing that those pre-

    20   and some postpetition, that those assets -- those accounts be

    21   swept to Sentinel.

    22               MR. MORRIS:   Your Honor, if I may, I think that --

    23   Mr. Clubok, it would be helpful here.      I think some of the

    24   documents that they have admitted into evidence relates to

    25   these postpetition transfers.      So Mr. Seery can correct me if




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    1   I'm wrong -- and I'll call this argument -- that there are

    2   certain assets, including Greenbrier, that didn't make their

    3   way, even though they were intended to make their way to

    4   Sentinel, did not because their certificates were lost.         And

    5   as, you know, that assets and any other that didn't actually

    6   make its way as intended, as they generated income, it was the

    7   income and other dividends or distributions that those

    8   interests received that were then transferred to Sentinel.            Do

    9   I have that right, Mr. Seery?

   10               THE WITNESS:    Yes, you have.    That's correct.

   11               MR. MORRIS:    Yeah.

   12               THE COURT:    Okay.    That's all the follow-up I had.

   13   Anything else of Mr. Seery?

   14               MR. MORRIS:    No, Your Honor.    Highland at this point

   15   rests.

   16               THE COURT:    Okay.    Thank you, Mr. Seery.

   17               MR. MORRIS:    I'll turn the podium over to Mr. Clubok.

   18   Yeah.

   19               THE WITNESS:    Thank you, Your Honor.

   20               THE COURT:    Thank you.

   21        (The witness is excused.)

   22               THE COURT:    Mr. Clubok, any more evidence from UBS?

   23               MR. CLUBOK:    Yes, Your Honor.   We do have evidence.

   24   This is where we have probably a good 45 minutes.          I don't

   25   know if you want to take a break or if you want me to just




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    1   launch into it.

    2               THE COURT:    Oh, okay.      I appreciate getting that time

    3   estimate.    We will go ahead and take -- let's make it a 10-

    4   minute break, please.

    5               THE CLERK:    All rise.

    6        (A recess ensued from 11:18 a.m. until 11:31 a.m.)

    7               THE CLERK:    All rise.

    8               THE COURT:    All right.      Please be seated.   Thank you.

    9   We're back on the record in UBS v. Highland, Adversary 21-

   10   3020.   Mr. Clubok, are you ready to proceed?

   11        (No response.)

   12               THE COURT:    All right.      You must be on mute.

   13               MR. CLUBOK:    Sorry.       Thank you.

   14               THE COURT:    Okay.    Gotcha.

   15               MR. CLUBOK:    Your Honor, can you see the title page

   16   of the presentation we're about to walk through?

   17               THE COURT:    I can.    Thank you.

   18               MR. CLUBOK:    Terrific.      Okay.   I will be -- you know,

   19   again, for efficiency's sake, we can call the first few

   20   minutes the opening, if you'd like.           But really I just want to

   21   get right to presenting the evidence for our part of this

   22   proceeding.

   23               OPENING STATEMENT ON BEHALF OF THE PLAINTIFF

   24               MR. CLUBOK:    Your Honor, again, Andrew Clubok, Latham

   25   & Watkins, on behalf of UBS.




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     1        Your Honor, we start with how did we get here.      And you've

     2   heard this before.    But UBS had a $1 billion judgment.      And

     3   very specifically, the judgment that I spent so much time that

     4   Mr. Seery has alluded to that really was the impetus of a lot

     5   of discovery initially was specifically against two entities,

     6   approximately 50 percent to each.     About $531 million, the

     7   judgments against Defendant Highland CDO Opportunity Master

     8   Fund, which we've often shorthanded as CDO Fund, and about

     9   $510 million against Defendant Highland Special Opportunities

    10   Holding Company, which we often call SOHC.

    11        These judgments were the product of a so-called Phase I of

    12   the New York litigation that UBS instituted back in 2009

    13   against Highland Capital Management and some of these other

    14   funds.

    15        Phase II was supposed to take on Highland Capital

    16   Management and the other Defendants' liabilities, but

    17   restructuring intervened, and as a result those proceedings

    18   were stayed and Your Honor knows the rest.

    19        We have, as Your Honor knows, settled with most of the

    20   Defendants, but there was one important Defendant remaining,

    21   and that was the parent company of Highland Special

    22   Opportunities Holdco.    That SOHC is a hundred-percent

    23   subsidiary of Highland Financial Partners.

    24        And just recently, after a damages inquest and other

    25   proceedings in New York -- well, this was the total judgment,




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     1   the $1.042 [billion] that Your Honor is familiar with, before

     2   additional interest -- but recently we obtained a judgment in

     3   the so-called Phase II portion of what remains in New York,

     4   and amongst other judgments, most importantly for the purpose

     5   of today, is that we have now obtained a judgment against

     6   Highland Financial Partners as an alter ego of the Defendant

     7   SOHC.   So HFP is responsible for that same $510 million, plus

     8   additional interest.

     9        And I'm getting a request to annotate, but I guess I have

    10   to hit approve, too.     Which is fine with me.

    11        In any event, the HFP alter ego judgment is now also

    12   completed.

    13        As was well known, and you'll see that, in particular, Mr.

    14   Dondero, Mr. Ellington, and their associates all have

    15   anticipated for years that one day SOC's liabilities, SOHC's

    16   liabilities, would also be HFP's liabilities, as they now

    17   officially are.

    18        Sorry.    I've got this request to annotate that has created

    19   some curious issues here.

    20        (Pause.)

    21              MR. CLUBOK:   A moment, Your Honor.

    22        (Pause.)

    23              MR. CLUBOK:   Well, unfortunately, I -- someone asked

    24   me if I could annotate.     I'm going to try to annotate.     Okay.

    25   There we go.




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     1        In any event, we start with the judgments.      Then the next

     2   thing to know about, as you've heard a little bit, is there

     3   was this so-called ATE, or after-the-event policy.       And

     4   Exhibit 1 is a copy of this so-called policy.      As you can see,

     5   the insurer is Sentinel Reinsurance.      The legal action that

     6   this policy was aimed at, the only one identified in the

     7   policy, is the New York action, the UBS Securities v.

     8   Highland Capital Management and others.      The limit of

     9   indemnity was intended to be $100 million.      And the premium

    10   was identified as $25 million.

    11        Well, Your Honor, you heard a lot about how the ultimate

    12   consideration for this policy exceeded even the coverage

    13   limits of $100 million.     But, of course, that's -- you don't

    14   pay for an insurance policy with the coverage limits, you pay

    15   for it with a premium, and this premium was supposedly set at

    16   $25 million.    So the transfer of assets, which you've heard

    17   already testimony exceeded $100 million and had a face value

    18   of $300 million, far exceeded the so-called premium limit.

    19   And, of course, exceeded the limit of indemnity itself.

    20        The policy is fairly straightforward, fairly simple.        It

    21   said that the insurer agrees to indemnify the insured in

    22   respect to any legal liability occurring during the period of

    23   insurance, up to and including but not exceeding the limit of

    24   indemnity, provided that either the Court or any Appellate

    25   Court makes an order of liability relating to the legal action




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     1   that's insured.    Notably, also if there was a settlement would

     2   be another way that the policy would be triggered.

     3        As you've seen, this policy was signed by James Dondero in

     4   his -- what has become the typical fashion that we've seen in

     5   which he signs on behalf of every relevant Highland-related

     6   entity.    Here, he signs for all the insureds, which are

     7   identified as CDO Opportunity Master Fund, Highland CDO

     8   Holding Company, which we'll come back to, and then Highland

     9   Special Opportunities Holding Company.

    10        At the same time, there was an asset transfer, a so-called

    11   purchase agreement whereby all of these funds, and other funds

    12   at Highland, pooled their assets and transferred them all to

    13   Sentinel, supposedly so that Sentinel could purchase them, so

    14   that in turn these Highland funds could then pay the supposed

    15   $25 million premium.

    16        And then the premium, as set forth in Exhibit 2, was

    17   agreed to be all of the assets listed in Schedule A hereto as

    18   a hundred percent payment of the premium.      And Schedule A,

    19   which you saw briefly during Mr. Morris's presentation,

    20   identified every single asset from CDO Fund, from SOHC, from

    21   HFP, and also from some other entities that we'll talk more

    22   about in a moment.

    23        One thing of note of these assets, and I'll just point out

    24   because Your Honor asked about it, is that there is the so-

    25   called Multi-Strat asset.     Remember, Multi-Strat was then




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     1   called Credit Opportunities CDO Limited Partnership Interest.

     2   You can see that CDO Fund, this is the Highland CDO

     3   Opportunity Master Fund asset, so CDO Fund, which is the

     4   entity -- one of the entities that we have over a half-

     5   billion-dollar judgment directly against now, had this

     6   interest in what was then called Credit Opportunities but is

     7   now known as Multi-Strat.      That is the interest that is now

     8   currently the subject of the restraining order, and had not

     9   the restraining order entered, those monies would have

    10   already, as Mr. Seery testified, been distributed on to

    11   Sentinel.

    12        Just like with the insurance policy, with the asset

    13   transfer agreement, Mr. Dondero just signs on behalf of

    14   everybody.     You will see all the transferors he signs on

    15   behalf of.

    16        It turns out, or as known from the get-go, that this was a

    17   massive overpayment.     Remember, the aggregate purchase price

    18   paid by Sentinel for these assets was $25 million.        That was

    19   what the premium supposedly was set for -- was set as at the

    20   outset.

    21        At this time, and this is according to a tax memo that

    22   Shawn Raver wrote, you know, about a year later when he's

    23   trying to evaluate the tax consequences of the Sentinel

    24   acquisition of -- notably of HFP/CDO Opportunity Assets,

    25   you'll note even internally they describe this not as SOHC and




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     1   CDO Fund assets but as HFP CDO Fund assets.      This is when they

     2   were challenging alter ego at that time, and they continued to

     3   challenge alter ego right up until we got the judgment.        But

     4   you can see that internally they certainly treated it as an

     5   HFP liability, not an SOHC liability.

     6        In any event, you'll note that the purchase price for the

     7   assets was $25 million, but the aggregate fair market value of

     8   the assets on the date of the transaction was $105 million and

     9   change.    So, from the get go, they're paying, you know, more

    10   than quadruple the premium price, and more even than the

    11   limits of coverage.

    12        As you noted, as Mr. Seery testified already, this was

    13   from his deposition, we're here because Highland Capital

    14   Management controls Multi-Strat in two ways, both as indirect

    15   hundred-percent owner, also as investment manager, and also

    16   controlled CDO Fund.

    17        And then we're here because Your Honor, having entered a

    18   TRO, otherwise it may have already been too late to stop a lot

    19   of this.

    20        So, what now?    What now is that UBS asks for what it's

    21   always asked for, is an ultimate -- a permanent injunction.

    22   And we set forth in our response to this motion -- and,

    23   really, this is what we've asked for from the get go -- this

    24   requires a slightly different form of order than what Highland

    25   submitted, but I hope that after they hear the rest of this




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     1   evidence they will agree that our form of order is

     2   appropriate.

     3          By permanent, as you can see in our order, it means not

     4   permanent for the rest of time, but permanent until either a

     5   court adjudication of what actually happened here or a

     6   settlement agreement.      And we now hope that the latter will be

     7   what triggers it, at least for the assets that we now know

     8   about.

     9          So, what are the factors?     Obviously, success on the

    10   merits.      Irreparable injury.    Weighing of harms.   And the

    11   public interest.      And these are the familiar factors recently

    12   articulated in the Environmental Texas Citizen Lobby case from

    13   the Fifth Circuit, 824 F.3d 507.

    14          So, let's talk about success on the merits.       Why will UBS

    15   win?    Not just likely to, but will win on the merits if we

    16   proceed?

    17          There's really two ways for UBS to prevail here.        You

    18   could look at it either way.        Either the policy was just pure

    19   fraud and everything needs to be unwound.       Or the policy was

    20   valid, valid, but there was about an $80 million

    21   (indecipherable) overpayment.       In other words, it may well be

    22   fair that a $25 million ATE policy could have purchased a $100

    23   million -- a $100 million after-the-event coverage at that

    24   time.      As we've seen, they didn't pay $25 million.     They paid

    25   $105 million.




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     1        So these are two different theories that both result in

     2   effectively the same place.

     3        Now, we're not claiming simply constructive fraud, or we

     4   wouldn't be claiming simply constructive fraud at the end of

     5   the day.    This is -- this goes into actual fraud.     And as a

     6   result, we're going to go through the factors, the so-called

     7   badges of fraud.    And these badges are from New York

     8   precedent.    And they are from the Matter of Gard Enter. v.

     9   Block, most recently articulated, 2012 N.Y. Misc. LEXIS 4175.

    10   But they very much overlap with the badges of actual fraud

    11   that Texas and the Fifth Circuit have identified very recently

    12   in the Matter of Alabama & Dunlavy, 983 F.3d 766.       That's a

    13   Fifth Circuit 2020 case.

    14        These particular ones that we have on the screen on Slide

    15   12 are the actual ones identified from -- by New York, and we

    16   think New York law applies because the fraud was conducted

    17   through the Bank of New York and was directed at the New York

    18   proceedings.    However, you could also argue that Texas law

    19   applies because clearly the continuing fraud that continued

    20   even after the restructuring has affected this bankruptcy.

    21        So, under either way of looking at it -- and normally you

    22   don't need to, of course, show each one of these; you show

    23   some of these -- you'll see that literally every one of these,

    24   and every one to the extent it's slightly articulated

    25   differently in Texas, have all been demonstrated by the




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     1   evidence that we've obtained.      So we're going to briefly walk

     2   through those.

     3        We begin with knowledge of the claim.     This is obvious.

     4   That the timing -- and by the way, a lot of these factors

     5   overlap, because it's like one factor is whether you had

     6   knowledge of a claim in anticipation of a transfer.       Another

     7   is suspicious timing of a transfer.     So some of these, as you

     8   can see, overlap.

     9        But certainly knowledge of the claim.     In March of 2017,

    10   UBS had defeated all or virtually all of Highland and the

    11   Funds' arguments on summary judgments.      And they had a host of

    12   supposed defenses on liability that they claimed they were

    13   going to win on summary judgment.     They were, I believe, all

    14   or virtually all overruled.     That ultimately was appealed, and

    15   in New York you can take interlocutory appeals much more

    16   liberally than other jurisdictions, so they were able to delay

    17   the trial for another year through interlocutory appeal of the

    18   denial of summary judgments.

    19        This is the world they were facing in March of 2017.       In a

    20   very thorough opinion, Justice Friedman and the Supreme Court

    21   of New York had overruled their -- rejected their summary

    22   judgment claims.

    23        So remember that date, March -- that's March 2017.

    24        So we asked Mr. Leventon, let's start with liability and

    25   then we'll talk about damages.     Did you ever give a




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     1   recommendation that UBS was likely to win on its breach of

     2   contract claim against CDO Fund and SOHC in Phase I?

     3        Answer, Yes, I did.

     4        Question, What was that recommendation?

     5        Answer, That liability was likely to be found.

     6        Question, Who did you make that to?

     7        Answer, I don't recall.    It certainly would have been --

     8   well, I don't recall who it was.

     9        Question, You said certainly would have been.

    10        And then he answered, No, I believe it probably was Mr.

    11   Ellington and Mr. Dondero.

    12        Later in his deposition he was asked, How many times did

    13   you have discussions with Mr. Dondero in which you expressed

    14   your view that liability was likely to be determined against

    15   CDO Fund and SOHC?    He claimed he didn't recall.    And then he

    16   said, Well, it would have been more than one and probably less

    17   than five.

    18        Likewise, Mr. Ellington testified.     We asked him, You said

    19   a number of times that it didn't surprise you at all about the

    20   size or the magnitude of the damages verdict, correct?

    21        He answered, Correct.

    22        Question, And you had warned Mr. Dondero, in words or

    23   substance, that this was likely to occur before the verdict

    24   came, correct?

    25        Answer, Yes.




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     1        So, not only did they obviously know about the claim, but

     2   they had, you know, the individuals, Mr. Ellington and Mr.

     3   Leventon, who were tasked with responding to the claim and

     4   running the litigation in-house, had formed opinions about the

     5   likely loss and had shared those with each other and certainly

     6   with Mr. Dondero.

     7        In the course of purchasing this after-event, you know,

     8   so-called after-the-event policy, they were asked by Beecher

     9   Carlson -- you're going to find out that Beecher Carlson is

    10   the managing -- insurance managing agent for Sentinel.        And

    11   they were asked at some point, well, you know, what's up with

    12   these claims?    Or can you give us an analysis of them?      And

    13   there's an email exchange between Mr. Leventon and then Mr.

    14   Sevilla, who at the time was another former assistant general

    15   counsel in the Highland legal department.      And in that

    16   exchange, which they prepared to be able to send on to

    17   Sentinel's representative, Mr. Leventon notes, The claims

    18   against CDO Fund and HFP and affiliates are very strong.        They

    19   are guaranty claims.    The Defendants' primary responsibility

    20   will be to contest the amount of damages.

    21        And they note that it's $686 million at that time from

    22   February of 2009, accumulating interest.      And obviously the

    23   billion-dollar judgment, much of it is interest.      And they

    24   noted how CDO Fund was a guarantor of 49 percent.       And, again,

    25   by the way, HFP/Affiliates are 51 percent guarantors.




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     1          At this time, they were insisting, demanding, putting on

     2   evidence in court that supposedly HFP and SOHC were not at all

     3   alter egos, that they were not related, they shouldn't be

     4   treated as one.    But internally, when they wanted to pool the

     5   assets of HFP and SOHC to purchase this so-called policy, and

     6   then when they wanted to justify it to Beecher, they're always

     7   talking about it as if -- as if it's HFP, as one unified alter

     8   ego.

     9          So that's just a -- one of the many sort of side let's

    10   just say issues that are uncovered by this whole series of

    11   events.

    12          In any event, that's our main story.   At that point, and

    13   the next thing to see or badge of fraud is the transferor's

    14   inability to pay.

    15          Well, at this time, these funds, the HFP and CDO Funds,

    16   who are the main Defendants, HFP through its alter ego, SOHC,

    17   at that time, were insolvent.      And they were insolvent -- at

    18   least, they had declared to their investors they were

    19   insolvent back in 2009.     And check -- and look at this.     This

    20   is the HFP letter that went to its investors in 2009:         Due to

    21   events and circumstances described in this letter, we've

    22   concluded that as of December 31, 2008, it's likely that all

    23   future inflows of cash to HFP will be used to pay creditors

    24   and there is no prospect of return to holders of HFP.

    25          So, first of all, they're telling their holders of HFP,




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     1   hey, all we've got left are creditors.       And by the way, other

     2   documents, and we've submitted them into the record

     3   (indecipherable) and they're talked about in the depositions,

     4   the only major creditor left is UBS.      If UBS's claim had

     5   really been denied or if they had prevailed, HFP would have

     6   actually finished in the black, not in the red.

     7        So they're telling their investors, hey, we can't pay you,

     8   we're insolvent because we have this giant claim to UBS.         Of

     9   course, they've never paid a single penny to UBS.       HFP has not

    10   directly.

    11        Meanwhile, CDO Fund, the same thing.      They're telling

    12   their investors, yes, we're also insolvent.       And explained to

    13   their investors, of, look, all of the Fund's available assets

    14   will be distributed to the Fund's remaining (indecipherable)

    15   and counterparties and other senior and trade creditors in an

    16   orderly liquidation.

    17        Of course, that doesn't happen.      None of CDO Funds -- and

    18   you've seen the CDO Funds that were belatedly identified to

    19   Mr. Seery in 2020, and you've also seen that lengthy list of

    20   funds or assets that CDO Fund had back in 2017.       They

    21   obviously had this post-2009.       They have told their investors,

    22   hey, everything we've got left is going to be distributed to

    23   our creditors, but instead we know now that they've funneled

    24   it to Mr. Dondero and Mr. Ellington's Cayman entity.

    25        Another badge of fraud.     Suspicious timing in anticipation




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     1   of litigation.    This plan was all hatched -- remember, March

     2   '17 is when they lost summary judgment.      This plan is hatched

     3   just a few weeks later, in April of '17.      And this is the so-

     4   called settlement analysis that sort of lays out the scheme.

     5   And this is a document that I believe was prepared by Mr.

     6   Leventon and Ms. Vitiello, at Mr. Ellington's direction, I

     7   believe.    And it's Exhibit 7 in the record.

     8          And it notes -- this is why they were trying to justify

     9   why they should do this ATE policy.      And they say, well, if

    10   UBS wins, Highland is going to lose all the assets again in

    11   HFP and CDO Fund.

    12          And by the way, of particular note, the one asset they

    13   made particular note of:     HFP assets include a $32 million DAF

    14   note payable.    Put a pin in that.   And remember, why are they

    15   so intently concerned?     Of all the $300 million of face value

    16   assets, the one that gets particular attention in this

    17   presentation is a $32 million DAF note payable.

    18          That note, by the way, we now have come to learn, is an

    19   entity which Your Honor is familiar with, I think it's been

    20   called CLO Holdco or CLO entity, and it's also known as the

    21   DAF.    That note was owed to CDO Fund because of a prior

    22   transfer, probab... you know, of -- or I do know that we're --

    23   I'm sure we'll dig into.     And so they're holding this $32

    24   million note that the DAF owes them, and they note that, if

    25   Highland doesn't settle, Highland is going to lose all the




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     1   assets, including that particular $32 million DAF note.

     2        It's also noted that Highland will face years of

     3   fraudulent transfer claims through the Highland structure, and

     4   HCMLP will face clawback of $9 million and liability to

     5   backstop HFP CDO Fund for up to $1.2 billion.

     6        This was the view of the legal department.        Obviously,

     7   never shared with us during the litigation, but we've come to

     8   understand never shared with Mr. Seery or with Mr. Morris,

     9   right?     Their team, right?    This is -- this is all -- this

    10   document is uncovered after Mr. DiOrio is fired, after

    11   everyone is fired, I believe, related to this, and then they

    12   happen to find this document either on a desk or through that

    13   email search that you heard about.

    14        Side note.    If Highland were to win, you can see below,

    15   then it would show that HFP is solvent.         That would have

    16   reduced -- reversed the tax write-off and would have perhaps

    17   exposed them to tax fraud or to at least a massive payment for

    18   prior taxes.

    19        So, a lot going on here.         But, again, let's get back to

    20   the direct impact on UBS and then, later, Highland.

    21        So, this is the settlement analysis that was prepared to

    22   support this whole ATE scheme.         And here's the structure

    23   that's laid out.     Okay.   And this is before the actuaries have

    24   gone to work.     This is before they've put together the actual

    25   documents.    This is April of 2017, when the scheme is first




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     1   hatched.    And it says, Step 1.   HFP -- once again, HFP, CDO

     2   Fund -- will buy a $100 million ATE policy from Sentinel.           The

     3   ATE premium will be all assets in HFP CDO Fund.

     4        It doesn't say, gee, we'll go find out what the premium

     5   is, or we'll go check with an actuary and see what it should

     6   be, or we'll price this thing out and find out what the

     7   likelihood is of buying such a helpful insurance policy at

     8   this time.    Nope.   It's just, The premium is going to be

     9   whatever assets are left that we can round up.      That's the

    10   plan from the get go.     And it's suspiciously timed right after

    11   summary judgment has been lost in anticipation of trial.

    12        The close relationship amongst the parties who devised

    13   this plan.    Mr. Ellington -- that's putting it mildly.      Mr.

    14   Ellington is the one who devised the plan.      Says the idea --

    15   we asked him, Who had the idea?     He said, I had that initial

    16   conversation with Mr. Leventon because it was my idea.

    17        Question, It was your idea to have Sentinel issue an

    18   insurance policy with respect to the UBS litigation that was

    19   then pending in New York, correct?

    20        Answer, Yes.

    21        This is from Mr. Leventon's deposition transcript, 86:21

    22   through 87:6, which has been marked and included as part of

    23   the designations for Mr. Ellington.

    24        Mr. Leventon was then asked, Who made the decision to

    25   obtain the policy?    So, Mr. Ellington had come up with the




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     1   idea, but of course, we all know who's the ultimate decider at

     2   Highland.

     3        Mr. Leventon says, My understanding is that it was Mr.

     4   Dondero who made that decision.

     5        What's that understanding based on?

     6        That was communicated to him by Mr. Ellington.

     7        When?

     8        Back around the time, probably right after the policy was

     9   implemented.

    10        Of course, there is a very close relationship, because

    11   Dondero and Ellington own several.     This is Mr. Ellington.

    12   This is a -- this is an org chart for Sentinel.      And you can

    13   see it was notarized -- this was produced to Sentinel back in

    14   -- or provided, I believe, to the regulators in the Caymans in

    15   January of 2018.

    16        So this is the way things looked back at the end of '17

    17   when these actions were taken.     And you can see that Mr.

    18   Ellington has a 30 percent ownership interest in Sentinel,

    19   although he was only given a 9 percent vote.      Mr. Dondero had

    20   a 70 percent ownership interest ultimately through a bunch of,

    21   you know, intermediary entities, but yet a 91 percent vote in

    22   how Sentinel would be operated.

    23        And that's it.    These are the two so-called UBOs or

    24   ultimate beneficial owners.     Sometimes they're listed on org

    25   charts as UBO 1 and UBO 2.     But UBO 1 and UBO 2 are simply Mr.




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     1   Ellington and Mr. Dondero, who collectively own a hundred

     2   percent of Sentinel.

     3       Remember, this is the scheme.     We're going to pool all of

     4   HFP and CDO Fund's assets, whatever they amount to, send them

     5   off to Sentinel, supposedly for this hundred-million-dollar

     6   ATE policy.

     7       And this was Beecher Carlson.      Again, it's Sentinel's

     8   insurance manager.    He was deposed in these proceedings.      And

     9   we asked, Was it common that employees of Highland Capital

    10   would do things on behalf of Sentinel?     This goes, again, to

    11   whether there's a close relationship between HCM and Sentinel.

    12   Mr. Carlson -- or Mr. Adamczak, who is the representative, the

    13   corporate representative of Beecher Carlson, says, Well, a

    14   captive insurance company does not generally have any

    15   employees, so all of the employees are typically from a

    16   sponsoring organization.    In this case, it was Highland

    17   Capital that was the sponsoring organization.

    18       Now, when you look at the deposition transcripts, you can

    19   see that, one by one, the former Highland employees denied to

    20   various degrees their involvement with Sentinel.      Meanwhile,

    21   though, Sentinel has no employees, and it was these Highland

    22   former employees who did everything for Sentinel while they

    23   were being paid by Highland.

    24       But, again, this just -- for purposes of this factor, this

    25   just goes to the close relationship between HCM and Sentinel.




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     1   Obviously, Mr. Dondero, who ultimately controls HCM, also

     2   ultimately controlled Sentinel.     You've got Mr. Ellington.

     3   And then you've got all of the Highland former employees doing

     4   the work of Sentinel.

     5        Here is an example of each of the key figures who were at

     6   Highland who've now been fired.     Mr. DiOrio.   He was the

     7   former managing director of Sentinel, but he was also a

     8   Sentinel director.    And that included right up until after

     9   even he was fired by Highland and finally tendered his

    10   resignation.    But he was made a director in the wake of this

    11   transaction.

    12        Mr. Sevilla.    He was the former assistant general counsel

    13   at Highland.    And he was described by Mr. DiOrio as the point

    14   person, I guess, for things that had to happen with Sentinel.

    15   He helped with the formation.      He, as I understand it, he was

    16   part of the team.    And he's also described as the point person

    17   by everybody except for Mr. Sevilla, who disavows the same

    18   kind of involvement that everyone else said he had and that

    19   the documents show he had.

    20        Then you've got Mr. Leventon.     He was another former

    21   assistant general counsel.

    22        By the way, all these folks are in the legal department.

    23   They have fiduciary duties.     They're all in the legal

    24   department, and they presumably have fiduciary duties

    25   throughout, and they're all, as you can see, right in the




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     1   thick of this.

     2        Mr. -- the corporate representative of Beecher Carlson

     3   talked about how Mr. Leventon, each year-end, would work with

     4   Sentinel's actuaries to determine the scenarios for the

     5   outcome of the case -- he's talking about the UBS litigation

     6   -- with the end goal being to determine what the loss,

     7   ultimate loss would end up being that Sentinel would record in

     8   their financial statements.

     9        So Mr. Leventon is working hand-in-glove with Sentinel

    10   from the time the policy is issued -- even before; you know,

    11   he was one of the drafters of that memo -- but certainly for

    12   years after, including after the restructuring.       Of course,

    13   with never a word to Mr. Seery or his outside counsel.

    14        And then you have Katie Irving.      She was a former managing

    15   director.     She's, again, one of these people who, in her

    16   deposition, tried to effectively say she really didn't have

    17   much to do with Sentinel.      But at the Beecher deposition, they

    18   noted that she was someone who had been knowledgeable of all

    19   the activities centered around Sentinel, and she attended

    20   multiple meetings between Sentinel and CIMA, which is the

    21   regulatory authority in the Caymans.       She had traveled to the

    22   Cayman Islands several times for these meetings, yet somehow

    23   it's all apparently slipped her mind when she was being

    24   examined or asked about this kind of information directly or

    25   indirectly by Mr. Seery and his team.




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     1       Back to the Beecher Carlson representative.          In terms of

     2   the unusualness of the transaction, Beecher has lots of

     3   insurance companies that they help manage.        We asked if they

     4   have any other clients that issue ATE policies.          Answer is no.

     5   Sentinel is the only one.

     6       Just how many ATE policies did Sentinel actually produce?

     7       Just the one.

     8       Just the one we're looking at here?

     9       Correct.

    10       So this is very outside the ordinary course of business.

    11   And here's why.    At the time of the transaction -- this is the

    12   financials at the end of 2016.        Remember, the transaction is

    13   summer of 2017.    Things haven't changed much for Sentinel in

    14   those few months.

    15       (Interruption.)

    16              MR. CLUBOK:    That's -- the total assets are $19

    17   million.   Okay?

    18              A VOICE:   Sorry.     I didn't mean to get --

    19              THE COURT:    I'm sorry.    Who's speaking?

    20              MR. CLUBOK:    Okay.

    21              THE COURT:    Who is that voice?

    22              MR. MORRIS:    I think that was one of ours, Chris, I

    23   think you went off mute.

    24              THE COURT:    Okay.

    25              MR. CLUBOK:    That's okay.




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     1              THE COURT:    Continue.

     2              MR. CLUBOK:    That's fine.    Back on Slide 30.   Slide

     3   30 is UBS Exhibit 9, and that's from Sentinel's financial

     4   statements year end of 2016.     And you can see that as December

     5   2016 Sentinel's total assets were only about $19 million.        So

     6   how are they issuing a $100 million ATE policy in good faith?

     7       Well, the only way to even try to justify it is if you get

     8   more than $100 million in transfers, which we know they

     9   ultimately did.    But, again, this just shows how unusual and

    10   outside the ordinary course of business this whole transaction

    11   was, even for Sentinel, even if someone were to try to portray

    12   it as just a, you know, normal insurance company, just your

    13   everyday normal captive insurance company in Highland run by

    14   Mr. Dondero and Mr. Ellington.

    15       You can see the total cash was only about $5.8 million.

    16   And of course, the policy doesn't -- isn't supposed to pay off

    17   the claim in cash and prizes.        It's supposed to pay just cash.

    18   But they only had about less than $6 million on the balance

    19   sheet at the time.

    20       Unusualness of the case, case, is another factor that

    21   indicates fraud.    And of course, we asked -- this is the

    22   former chief accounting officer, Mr. Stoops.       At Mr. Sevilla's

    23   instructions, did you transfer all the assets of the relevant

    24   funds?

    25       Answer, Yes.     That is my recollection.




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     1        And in that instruction, he wanted all funds or all assets

     2   transferred, regardless of the value of those assets?

     3        Yes.    That's right.

     4        Mr. Ringheimer, who was the former management or manager

     5   of operations, I guess, is his title at Highland, he was

     6   asked, To the extent there's a transfer of all of the funds of

     7   a particular entity, would you say it was common while you

     8   were at Highland for Highland to transfer all of the assets

     9   out of a Highland entity?

    10        Answer, I don't believe I -- so, I have seen funds wind

    11   down before, but I don't believe I've seen another transfer

    12   like this before.

    13        Then we asked, Do you recall what the urgency was for

    14   executing a transfer that day?

    15        Answer, I do not.

    16        Never communicated to you why it was urgent?

    17        Answer, If they did, I don't remember.

    18        And remember, you've already heard testimony that it was

    19   done in such haste that some of the assets weren't even

    20   properly transferred.

    21        Use of dummies.     This is a -- you know, it's always hard

    22   to unpack how Highland -- entities.      But if you look at

    23   Exhibit 1, you will note three insureds.       CDO Fund and SOHC,

    24   which you would expect, but also, oddly, CDO Holding Company.

    25   When you look at the Defendants, though, you don't see CDO




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     1   Holding Company.     That was not one of the Defendants in the

     2   litigation, and yet somehow they're becoming an insured

     3   pursuant to this policy.      That's curious.

     4        Meanwhile, who paid for the insurance?      There are six

     5   entities who paid for the insurance, and three of them are the

     6   insureds.     That's double-curious, right?

     7        And so all of this just adds to the suspiciousness of this

     8   whole transaction.

     9        So, what about the consideration?      Well, obviously, you've

    10   heard a lot.     It was inadequate.    This was, going back to that

    11   settlement analysis that was done, you know, hastily a few

    12   weeks after summary judgment was lost, out there it was

    13   identified that HFP CDO Fund would send all their assets, and

    14   they said, parentheses, $94 million, as the ATE premium, and

    15   that would let them write a $100 million ATE policy for UBS

    16   liability.     They had roughly estimated that there was about

    17   $94 million left between HFP and CDO Fund, and that would

    18   justify this $100 million policy.

    19        Well, it turns out that the aggregate purchase price paid

    20   was actually $25 million.      Okay?   So the premium gets set at

    21   $25 million, for other curious reasons.       And meanwhile, the

    22   aggregate fair market value of all the assets -- because the

    23   plan was always to transfer all the assets, regardless of the

    24   value -- turns out to be $105 million.       So that original plan,

    25   transfer all the assets to get us $100 million, that never




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     1   changed, even though it turned out the assets were worth more

     2   than $100 million and the so-called premium had to be set at

     3   $25 million.

     4         Now, the Cayman Islands Monetary Authority, CIMA, found

     5   this suspicious.    And they asked about it.    And here you'll

     6   see, they catch Sentinel in a complete lie.      This is a report

     7   that was done May 19th, when they're saying -- they're asking

     8   for information about what happened here.      And they say, Those

     9   changed with Licensee's governance could not explain the basis

    10   upon which the investments had been valued on or about August

    11   20 -- August 1, 2017 for the purpose of premium settlement.

    12   And this is Page 78819, Bates label, that is, of UBS Exhibit

    13   11.   Sort of a question/answer.    It's like CIMA will say,

    14   Well, here's the question we raised, and then they will say,

    15   Well, how did management respond?     And this is how management

    16   responded when CIMA raised this question.      They said, you

    17   know, basically, how'd you set the policy?      How'd you set the

    18   premium?    And management -- this is management's comments, was

    19   that, At the time the ATE policy was drafted, premium had been

    20   established at $25 million based on a pricing study conducted

    21   by Licensee's actuary.

    22         So they told CIMA, Hey, no problem, we had an actuary set

    23   the price, and $25 million was the price.      Let alone the

    24   overage of payment, but at least $25 million was supposedly

    25   the premium price pursuant to this actuary.




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     1        Well, CIMA didn't just take their word for it.      They

     2   continued their investigation, and this is how CIMA in this

     3   report, Exhibit 11, responds to this management comment.        They

     4   say, Well, on April 4, 2019, the Authority held a telephone

     5   interview with Mr. Jason Stubbs of Risk International, the

     6   Licensee's actuary.    During the interview, Mr. Stubbs informed

     7   the Authority he was not involved in the determination of

     8   premium pricing for the Licensee to any extent at all.

     9        It goes on to say, The Authority notes with concern that

    10   the management's assertion that the ATE policy premium of $25

    11   million was established based on a pricing study conducted by

    12   the Licensee's actuary contradicts the actuary's position.

    13        So the actuary is basically outing them for having just

    14   simply lied to CIMA.

    15        But you still -- even all that is suspicious, but the

    16   problem is we know the assets were worth way more than $25

    17   million.    And by June of 2018, there was already questions

    18   being raised.    And Mr. Adamczak at Beecher Carlson had written

    19   an email to J.P. Sevilla and Matt DiOrio, copied one of his

    20   colleagues, and he said, Look, the problem is the premium was

    21   only $25 million, creating a ding on the transaction.         This is

    22   from Exhibit 12.    Because there is no return of overpayment of

    23   premium, it gives rise to the question, is this an arm's

    24   length transaction?

    25        This is the managing agent for Sentinel raising these




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     1   concerns.

     2        So what do they do?    They change -- they change the

     3   policy.    And this is -- this is way after the fact.     This ends

     4   up being in 2018.    This is like June of 2018.    Remember, this

     5   is about a year after the policy which was -- it was issued in

     6   2017.

     7        And what they do is they just say, you know what, let's

     8   just adjust the premium.     Now let's say the premium is $68

     9   million.    Okay?   And now let's say that the limit of indemnity

    10   is down to $91 million.     Okay?   Remember, previously, they had

    11   a fair market value of $105 million.      They've now got the fair

    12   market value supposedly down to $68 million.      P.S., because

    13   they're now treating that note from DAF as worthless, amongst

    14   other things.

    15        But they say, Well, the premium is $68 million.      We had

    16   said if it was a $25 million premium, we at Sentinel would

    17   have to take a gain on that difference.      Well, what if we just

    18   after-the-fact changed the premium up to match exactly the

    19   supposed new fair market value, and then lower the limit of

    20   indemnity at the same time down to $91 million?

    21        So they cook up this scheme, they do it.      Of course, they

    22   forget to have the insureds sign it, which is, again, a series

    23   of, I would say, fully unusual transactions.      And this is, you

    24   know, again, a year after.     So they're just continuing to do

    25   things to dig deeper into this hole.




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     1        We asked Mr. Adamczak, Is this something you've done

     2   before in other policies, changed the premium to reflect

     3   assets transferred?

     4        Answer, This is the first situation like this we've seen

     5   where there are assets that were taken in as opposed to cash.

     6        And have you ever seen anything like it since?

     7        I have not.

     8        Beecher Carlson is a nationally renowned, you know, large

     9   entity that works with insurance companies, I believe, you

    10   know, all over the world, I think, but certainly they have

    11   many clients.     They've never seen anything like this.       And

    12   certainly it has never been done before by Sentinel.

    13        So, again, this goes to how it's an unusual transaction,

    14   and also it goes to the fact that this is not just one mistake

    15   or one event but a whole series of things in a pattern.

    16        By the way, he was asked, Did any one of the insureds

    17   actually agree with the policy premium increasing by three

    18   times without increasing the coverage amount?

    19        He said, I'm not aware if that was presented to the

    20   insureds.

    21        Now, we know that a couple of those individuals at

    22   Highland Capital Management were in the mix on this, but it

    23   was never formally presented, I guess, to the insureds.

    24   Somebody at Highland just said, Yeah, go ahead and do this.

    25        Then, in 2019 -- and note, this is Exhibit 15, the date of




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    1   this is December 31, 2019, months after the bankruptcy in this

    2   case has opened.    And then what happens?    There's an asset

    3   transfer agreement because Sentinel had this collection of

    4   assets that they want to get out of even Sentinel and

    5   basically to transfer all these assets to another Dondero/

    6   Ellington-affiliated entity -- I believe it was to Sebastian

    7   Clark, allegedly -- all of these assets for $3.      That's in

    8   December of 2019.

    9        Now, this is -- you know, they've already moved the assets

   10   from CDO Fund, HFP, and Sentinel in 2017.       They disposed of

   11   some of them in other ways, but some they still have in the

   12   Caymans.    And what they do is they hustle or try to hustle and

   13   get them out after the restructuring to an entity connected or

   14   owned by Ellington for $3.

   15        You'll note that amongst these assets there's that $32

   16   million CLO Holdco also known as the DAF note.      Remember the

   17   one that they had so much emphasis on when they originally

   18   hatched the scheme, that they were really worried that this

   19   note could ultimately end up in the hands of UBS if UBS were

   20   to prevail?    Well, they now try to double-transfer it away.

   21        After, by the way -- here's another asset.      Aberdeen.

   22   This is an interest in a CLO.       We now know this is -- millions

   23   of dollars, I believe, are currently restrained in connection

   24   with this Aberdeen asset by the New York court.      But, again,

   25   they're just transferring all these assets, supposedly for $3.




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     1        Why?    Well, Mr. Adamczak said they were told they were

     2   worthless.     And we asked, Who told you they were worthless?

     3   And he said, That direction would have come from Matt DiOrio.

     4   This is December of '19, after the bankruptcy.

     5        Then we asked, Well, as part of the valuation service the

     6   Valuation and Research Corp. had done, had they determined

     7   these assets were worthless?        Had this VRC group, this -- the

     8   group that previously they had used to try to give them at

     9   least some argument of fair market value.       Mr. Adamczak said,

    10   Well, they -- VRC had not been engaged to perform valuations

    11   on those investments, and it was discussed that if those

    12   investments were worthless there's no point in obtaining a

    13   valuation.

    14        So just think about that.       And this is his deposition at

    15   276, Line 17, through 277, Line 6.

    16        Basically, Matt DiOrio says, Hey, these assets are

    17   worthless.     Transfer them to this entity for $3.    And they

    18   say, Well, shouldn't we have VRC value them?       And DiOrio

    19   basically says, No need to value them.       I told you they're

    20   worthless.     Why spend money valuing them when I've already

    21   told you they're worthless?      Even though they include a $32

    22   million note payable by the DAF and they include at least

    23   other assets that we know are worth millions of dollars.         We

    24   asked if Beecher had done anything independent, and they

    25   explained that had no way of confirming anything.




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     1        Now, luckily, those assets had been transferred back to

     2   Sentinel.     And, luckily, the current directors, I believe, did

     3   listen to our arguments, and also had, I think, some pretty

     4   sharp instructions from CIMA.       And as a result, those assets

     5   or those purported transfers have been unwound and those

     6   assets have been returned to Sentinel.

     7        But this just shows the danger and risk that at every --

     8   every opportunity, these individuals will try to keep moving

     9   these assets and try to keep evading them from judgment.

    10        And by the way, this has happened before.       Mr. Seery was

    11   testifying a little bit about what started all this.           This --

    12   Slide 43 just has a compilation from UBS Exhibit 52, which

    13   just showed the asset transfer or the fraudulent transfer that

    14   we alleged back in 2009.

    15        And for UBS, this is just déjà vu all over again, because

    16   what we alleged in the New York case was, at the time, there

    17   was a whole bunch of assets that were pooled into HFP and then

    18   distributed to the winds right after default was declared in

    19   the contract and at the outset of this litigation.

    20        Actually, after UBS had sued Highland, a couple months

    21   later they did this, you know, then face value of a couple

    22   hundred million dollars in assets that we had argued was

    23   fraudulently transferred.

    24        What we see now happened in 2017 was basically the follow-

    25   on to that, like, everything that was left, let's put it all




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     1   together and send all that to Sentinel.      So, to us, it is a

     2   pattern.    And it is, as I said, déjà vu all over again.

     3        And back then, just like in 2017, of course, Mr. Dondero

     4   signed on behalf of everybody.     That's the typical pattern.

     5   That's the series of continued fraudulent transfers that had

     6   been -- UBS, but also really speak to what we've seen from

     7   Highland in connection with many of the creditors.

     8        Sentinel again looked at all of this -- later, and they

     9   say, with respect to some of the other practices, they say

    10   that, Those charged with the Licensee and licensing at

    11   Sentinel governance could not explain the basis upon which the

    12   investments have been valued in August 2017.

    13        They also couldn't explain the reason why the information

    14   that was relied on to value the investments for the purpose of

    15   premium couldn't be readily provided to the auditors upon

    16   request, considering that the policy inception and the

    17   financial statements on it was only a few months apart.

    18        CIMA also noted, and this is Exhibit 11 at Bates 78819,

    19   that those charged with governance could not explain why the

    20   premium was adjusted without a commensurate adjustment to the

    21   indemnity limit provided or why the initial pricing was

    22   subsequently deemed not sufficient.

    23        And they say, In addition, in any case, to amend an

    24   insurance policy to artificially inflate the premium amount to

    25   equal the value of investments transferred to the licensee




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     1   without any justifiable business purpose and economic

     2   substance is, at the very least, questionable.

     3        In sum, the above matters cast significant doubt on the

     4   economic substance and business purpose of the transactions

     5   relating to the ATE coverage.

     6        According to CIMA, it was Sentinel's own lawyers.        They

     7   hired a lawyer in Cayman to look at this, and they tried to

     8   get some help -- this was back in 2017 -- to just effectuate

     9   this plan once it had been cooked up.      And even back then the

    10   Cayman lawyer noted, Has any thought been given as to the

    11   legal validity of such a transfer, bearing in mind that these

    12   assets will then be put beyond the reach of the Plaintiffs in

    13   the U.S. litigation against the Fund.      Obviously, the last

    14   thing you want to find is that the "premium" has to be

    15   returned or set aside as some unlawful preference or similar.

    16   Obviously, an issue for U.S. counsel, but just thought I

    17   should raise it.    Well, you can imagine U.S. counsel at the

    18   time in 2017 did nothing, but this was obviously flagged by

    19   their Cayman counsel.

    20        So, one factor that I skipped over but you've heard a lot

    21   about is the secrecy.     And, really, the secrecy is a -- just

    22   sort of it wraps everything up.     You know, we know the

    23   bankruptcy was in October 2019.     We know that we got a

    24   decision that notified the world or at least notified Highland

    25   and Mr. Dondero and even Mr. Seery before he became a director




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     1   that there was this looming $1 billion judgment.

     2        It was first issued as a decision.      It was not made public

     3   so that the parties could have some time to try to negotiate

     4   settlement, which we -- you heard testimony in other

     5   proceedings that we started to with Mr. Ellington.

     6        So Highland obviously had received it from the Court and

     7   knew all about the billion-dollar judgment.

     8        February 10th, it -- I'm sorry, the billion-dollar then-

     9   decision.

    10        By February 10, 2020, it is reduced to a judgment for

    11   Phase I.     And yet from 2019 until the beginning of 2021,

    12   everyone -- all these ex-employees of Highland now who knew

    13   about this actively concealed it.

    14        And of course, we start with Mr. Dondero.       This is Mr.

    15   Ellington saying, Did you ever tell Mr. Dondero that there was

    16   an insurance policy issued by Sentinel that could potentially

    17   satisfy the judgment?

    18        That was kind of an obvious question.

    19        Ellington said, Well, I didn't need to tell Mr. Dondero.

    20   He was aware of it since the inception.

    21        And, of course, Mr. Dondero signed it.      So it just goes

    22   without saying Exhibit 1 shows that Dondero knew about it.

    23   And, of course, Mr. Dondero never said anything about it

    24   throughout, as you can see by his deposition.

    25        Meanwhile, though, Mr. Sevilla also covered it up.        We




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     1   asked Mr. DiOrio about Mr. Sevilla's role, and as we noted, he

     2   was the point person for things that happened on Sentinel.            He

     3   knew everything about Sentinel.

     4        We asked Mr. Sevilla, in his deposition transcript, 278,

     5   Line 20, to 279, Line 3:       So, between the time the independent

     6   board was appointed and your departure from the company, did

     7   you ever disclose to any of the members of the independent

     8   board that you were aware the existence of a Sentinel

     9   insurance policy ostensibly provided for coverage for the loss

    10   of the UBS litigation?

    11        Answer, no.

    12        Mr. Leventon.      Mr. Leventon doesn't just omit information,

    13   he -- well, you'll see for yourself.        This is one of the

    14   documents where he had been tasked with tracking the assets

    15   through on SOHC.      He says, this is Exhibit 16, and in one of

    16   his emails to Mr. Seery and to Mr. Demo and others, he claims

    17   he had been tracking the assets through an SOHC and CDO Fund.

    18   He was putting together a report with supporting

    19   documentation.      And he claims that there's just this small

    20   account of cash and a few worthless securities.

    21        Now, he's claiming he's tracking the assets through.

    22   Okay.      He knows what happened to the assets of SOHC and CDO

    23   Funds.      He helped devise the scheme to transfer them in 2017

    24   to Sentinel.      He has also been, every year, talking to

    25   Sentinel or their actuaries about the prospects of the




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     1   litigation.    And yet when Mr. Seery, Mr. Demo, and others task

     2   him with tracking the assets, he just, you know, says what's

     3   there, doesn't ever mention this.     You know, this would be, at

     4   a minimum, a material omission.

     5         I think if you read the documents and you look in Exhibit

     6   16, you'll see things that are even more concerning.          This is

     7   not an accidental omission.

     8         This is the list he provides, without identifying at all

     9   that there is, in fact, all of this other -- all these other

    10   assets that were transferred and a $10 million supposed

    11   insurance policy just available for the asking.

    12         And he was asked, Well, you knew there was a schedule that

    13   showed Sentinel having an interest in Multi-Strat that

    14   specifically said, parentheses, from Highland CDO Fund.         There

    15   was a schedule that showed that.

    16         And he said, Well, I think that's fair.    December 2017, I

    17   think that's fair.

    18         And we asked, Well, when you were tasked with helping

    19   trace the assets of CDO Fund and HFP, you even talked to Mr.

    20   Ellington, in words or substance, about whether or not you

    21   should mention Sentinel, correct?

    22         And this is an email exchange that Mr. Ellington had had

    23   with Mr. Leventon back in December of 2017.      This is Exhibit

    24   46.   This showed -- this is of Highland Credit Opportunities.

    25   In other words, the Multi-Strat list of -- of interests in




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     1   Multi-Strat.

     2        And you can see, back in the end of 2017, it was

     3   identified, the first one on the list is an interest of

     4   Sentinel in Credit Opportunities, also called Multi-Strat.

     5   Okay.   That's the interest that right now is being restrained

     6   by Your Honor's order.     And this interest was being -- was on

     7   the books as being settled but it said right in their

     8   document, parentheses, from Highland CDO Fund, because it had

     9   only been transferred a few months ago, in August.       Right?

    10        So Leventon and Ellington know this.     They know that

    11   Sentinel has an asset that came from CDO Fund.      Of course, not

    12   just because of this document.     This is just one of many.      But

    13   back then -- and, again, if you look at those documents, Mr.

    14   Leventon was asked, You never told anyone at the Pachulski

    15   firm that assets of CDO Fund held with respect to Multi-Strat

    16   may have been transferred to Sentinel, correct?      And he says

    17   yes, that's correct.    Just never -- never mentioned it.

    18        We asked, What was the information you had about the

    19   assets of SOHC and CDO Fund from March of 2009 to the present

    20   that you chose not to provide to the Pachulski firm?          He says,

    21   Answer, I knew that there had been a transaction in 2017

    22   sometime with respect to an after-the-event insurance policy

    23   with Sentinel.

    24        Then we asked, Did you ever disclose the existence of this

    25   policy to any of the independent directors?




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    1         Answer, I never discussed with them one way or the other.

    2         This is all while he has been tasked with, as Mr. Seery

    3   put it, generally speaking, to trace the assets from 2009

    4   through the present.

    5         Mr. Ellington goes even further.    He really tries to

    6   divert things.    And you'll see in an email exchange where he

    7   jumps in and tries to cloud the issue by using a phrase he's

    8   used over and over again as he explains so-called ghost funds.

    9   This is an August 15, 2020 exchange that's got Mr. Ellington,

   10   Mr. Demo, Mr. Leventon, Mr. Seery, and others on it.       And this

   11   is Exhibit 17.

   12         Mr. Ellington jumps in.    If you read the Exhibit 17,

   13   you'll see how he jumps in and he says, Look, stop, stop all

   14   this.   You know, basically, he says, There's not much more to

   15   do.

   16         He goes, I have personally discussed at length this

   17   situation with the head of KPMG Cayman Islands and he

   18   expressed to me there are currently more than 6,000 ghost

   19   funds such as these target entities -- the target entities, of

   20   course, are not just random funds out of the so-called 6,000

   21   ghost funds, but CDO, SOHC, HFP -- stemming from the 2008

   22   crisis that do not have directors, custodians, administrators,

   23   bank accounts, et cetera, that sit dormant, and, capital, NO

   24   ONE, capital letters, knows what they truly retain, et cetera.

   25         He then said, I know that UBS is aware of the situation,




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    1   and I know Andy Clubok -- that's me -- knows of this

    2   situation, the so-called situation of everything being ghost

    3   funds because I've personally discussed it with him several

    4   dozen times, including as recently as this year.

    5        He goes on to say, Oh, this process is a Herculean task.

    6   He and I just spent 100 hours, or excess of 100 hours, trying

    7   to piece together everything they can to create a true and

    8   accurate document record, based record, of what happened with

    9   these target entities.

   10        He is affirmatively telling Mr. Seery, Mr. Demo, and

   11   others that, you know, not just waiving those funds and trying

   12   to trick them with that, but claiming that he is doing

   13   everything with Leventon to piece together everything they can

   14   to create a true and accurate document, at least record of

   15   what happened to these entities.      And the simple thing that

   16   happened to those entities, the most important thing, frankly,

   17   the only really relevant thing, is that all of their assets

   18   were transferred or tried to be transferred in 2017 to

   19   Sentinel.

   20        Now, by the way, some of those assets weren't transferred.

   21   So CDO Fund still had some accounts and still did have some

   22   assets, even when Mr. Ellington is claiming this.       So the

   23   whole thing is, you know, inaccurate, but, frankly, just a

   24   downright -- well, I won't characterize it.      I think it speaks

   25   for itself.




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     1        We deposed Mr. Ellington in this proceeding.      This is at

     2   Deposition Transcript 83, Line 15, to 84:24.      I asked him, Did

     3   you ever tell me that there was an insurance policy issued by

     4   Sentinel that potentially could satisfy that judgment?

     5        Answer, No.

     6        Did you ever tell Mr. Seery anything at all about the

     7   insurance policy that was issued by Sentinel with respect to

     8   the UBS litigation in New York?

     9        Answer, No.

    10        Question, Did you tell Mr. Nelms, Judge Nelms, anything at

    11   all about the insurance policy that was issued by Sentinel

    12   with respect to the UBS litigation in New York?

    13        Answer, No.

    14        Mr. Leventon was asked, Well, did you, in words or

    15   substance, ever ask Mr. Ellington whether you should disclose

    16   the policy?

    17        And we got kind of a hard-to-understand answer, but it's

    18   Leventon Deposition Transcript 154, 217.      The gist of it is

    19   Ellington told him not to.

    20        The answer specifically says, So, the conversation was, is

    21   the policy relevant to the task I'm working on?      And the

    22   answer, Mr. Ellington said he didn't believe that it was and

    23   therefore didn't need to be included as material because part

    24   of that past.

    25        And then I asked, You know, you've been in conversations




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     1   with Mr. Seery.    I don't talk to Mr. Seery hardly ever.      So is

     2   there any other thing that any other -- anything else that I

     3   should know of or -- or any other reason, you know, outside of

     4   my task that I should include in the materials, and Scott said

     5   no.   Okay?

     6         Basically, this is a very narrowly defined -- it's an

     7   effort by Mr. Leventon to somehow define his task down so

     8   narrowly that he and Mr. Ellington could somehow have a

     9   conversation and believe in good faith, while they are lawyers

    10   working for the estate that's in bankruptcy, that somehow this

    11   is something they should affirmatively not disclose to Mr.

    12   Seery and his team.

    13         And then we get to Mr. DiOrio.    And Mr. DiOrio tried and

    14   tried to hide it, but ultimately I believe it was his

    15   documents that left -- were left behind or that were found

    16   that helped unravel the scheme.     But back in January of '21,

    17   when he was still here, he repeatedly lied to Highland

    18   Capital.

    19         This is an email exchange from January 28, '21.     Remember,

    20   Mr. DiOrio is a Sentinel director at that time.      Okay?    He's

    21   getting paid exclusively by Highland Capital Management, but

    22   on Highland Capital Management time he has this side gig of

    23   being a Sentinel director.     And he's asked -- he was asked to

    24   figure out what are the -- what are the assets that didn't

    25   make its way to actually be transferred.      There's an asset




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     1   that's called Greenbrier.      It's an interest in a CLO.      And

     2   with respect to that particular asset, he claims he was

     3   working to reissue physical certificates, he'll keep everyone

     4   in the loop on the timing.      Does not appear to be a swift

     5   process, but we're moving forward.      The shares are still

     6   registered to Hare & Co., with CDO Opportunity Fund as

     7   beneficial owner.

     8        So this is one of those assets where they, just because of

     9   the haste, had not -- not competently effectuated the transfer

    10   as they tried to do.

    11        He talks about how BONY has a custody account in CDO

    12   Opportunity Fund's name, and been receiving past waterfall

    13   payments.

    14        By the way, I think this has amounted to over $10 million,

    15   and these have been ultimately now paid to UBS and we're

    16   continuing to get it as part of the prior settlement

    17   agreement, but, you know, obviously only because it was

    18   identified at the last minute.

    19        Anyway, Mr. DiOrio says, Well, these certificates were

    20   transferred in error in 2017 by Carter Chisholm, who no longer

    21   works at HCM.     Now, Mr. DiOrio knows exactly what happened

    22   with these transfers, okay, but he just kind of gives this

    23   weird answer, it was transferred in error.

    24        And then Mr. Demo says, Okay, but do we have any

    25   visibility into who Sentinel Reinsurance is?       Who owns them?




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     1   What do they do?       Et cetera.

     2          Because this is about the time, as Mr. Seery testified,

     3   that it's all kind of starting to unravel.         They've seen a

     4   ledger that showed that Sentinel actually had some interest in

     5   Multi-Strat, and that's kind of weird, and it sparked some

     6   memory, and certainly they really start fussing Mr. DiOrio,

     7   who is a director of Sentinel.        And Mr. Demo asks him this

     8   January 27, 2021.       This is Exhibit 18.    What does Mr. DiOrio

     9   say?    He says, It's a nondebtor, non-affiliate reinsurance

    10   company, but I do not know who or how it's owned.          That's what

    11   he tells Mr. Demo and the others.        Okay?

    12          Now, we asked him about that, and we said, Well, you knew

    13   it was owned in part by Dondero?

    14          Yes.

    15          And you knew it was owned at least in part by Mr.

    16   Ellington?

    17          This is when he gets under oath.       His deposition

    18   transcript at Page 336, Lines 3, to 338, Line 1.

    19          He said, yeah, he knew it when he told them that he

    20   didn't.

    21          And we say, Well, he asked -- talking about Mr. Demo --

    22   who owns Sentinel Reinsurance, right?

    23          Answer, Yes.

    24          Okay.    And you didn't tell him Mr. Dondero and Mr.

    25   Ellington owned part of it, right?




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     1          Right.

     2          Question, Well, why didn't you just explain this to Mr.

     3   Demo?

     4          Answer, I wanted as little to do with Pachulski as

     5   possible, so I answered the questions and waited for the next

     6   one.

     7          Okay?    Now, to be sure, he wasn't under oath in Exhibit

     8   18, I guess.      But he's a member of the legal department, he's

     9   a Sentinel director, he's working for the bankruptcy estate at

    10   that time, and he just flat lies.      There's no getting around

    11   it.    And then when we're talking under oath, he admits the lie

    12   and, you know, basically just didn't want to -- didn't want to

    13   have anything to do with Pachulski, I guess.

    14          Well, that's when luckily Mr. Seery now stepped in.     And

    15   seeing all of this, I think he fires the last of these

    16   individuals who were still there.      And then just, you know,

    17   weeks later makes a claim on behalf of CDO Fund to Sentinel

    18   for that $100,000 million, which, of course, he clearly would

    19   have done, and his deposition testimony reflects this, from

    20   the get go had he known about it, since we had a judgment and

    21   the insurance policy was intended to benefit UBS.

    22          So that's secrecy.

    23          Turning back to the factors, I'll run through the rest of

    24   these quickly.      Transfers retain control.   Well, of course.

    25   It is the case that Beecher had been servicing Sentinel --




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     1   throughout the time that Beecher worked for Sentinel, Dondero

     2   and Ellington were the ultimate beneficial owners, called

     3   UBOs.      Mr. Adamczak testified to that on Pages 22, 24, and 25

     4   of his deposition.

     5        He was asked, What's the role of the ultimate beneficial

     6   owner?      And as he understood it, the ultimate person would

     7   call the shots for the captive.      And we asked him if that was

     8   true with respect to Dondero and Ellington, that they were the

     9   ones ultimately calling the shots.       He said, To the best of

    10   our knowledge, that's correct.

    11        Everything that was done -- remember, Sentinel doesn't

    12   have employees, so everything is either done by a Highland

    13   employee working for Sentinel or being executed by Beecher,

    14   which is sort of the agent that executes stuff.       And they just

    15   did everything that Dondero and Ellington told them.

    16        So, with all of that, where has this money gone?          Okay?

    17   At least the money that has not been restrained.       Where has

    18   some of the other money gone?       And you heard a little bit

    19   about this, but I am sure you can't -- will not believe some

    20   of this.

    21        Basically, the transferors, and that's Dondero and

    22   Ellington, retained control and have used that money that they

    23   transferred out of CDO Fund and HFP and all the others as

    24   their own personal piggybank.       Here is just a sampling of some

    25   of the expenses that have been approved since that transfer.




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    1   And by the way, these are post-bankruptcy, November of 2019

    2   through January of 2020 expenses that, unbeknownst to Mr.

    3   Seery and our understanding is unbeknownst to the Pachulski

    4   firm, were just being authorized by Mr. DiOrio and others

    5   post-bankruptcy with money out of Sentinel that should have

    6   been used to pay UBS's judgment.

    7        First of all, here's an expense report from January 15,

    8   2020 through January 19, 2020.      It's UBS Exhibit 19.   And in

    9   there you will see Ellington expenses for a London and Paris

   10   trip of over $78,000.     At least one of these trips, I think

   11   it's this one, or maybe others, he went with his girlfriend.

   12   There are some emails that we have submitted that are in the

   13   records that show her, like, talk about which restaurants she

   14   wants to dine at, what hotels they want to stay in.        All

   15   that's in the exhibits to the depositions.      One of the -- one

   16   of the visits they did was a place called Sexy Fish.       Sounds

   17   good.   This is all being charged to Sentinel, okay?

   18        Then there's another expense report to Toronto, $97,000.

   19   Interesting.    There, they spent about $12,000 at the Rebel

   20   nightclub.    Okay?   Again, this is all instead of using the

   21   money to satisfy the judgment.

   22        Meanwhile, there's another one.     This is December of 2019.

   23   Scott Ellington.      A $318,000 expense report.   Okay.   Now, this

   24   is before Mr. Seery has been appointed but post-bankruptcy.

   25   And I'm sure that the Pachulski firm had no idea about this.




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     1   A huge expense on this one was the Sapphire.      This is a trip

     2   to Las Vegas.    Somehow they spent $318,000 in Las Vegas.      And

     3   there's five entries that total, you know, something like

     4   almost $50,000 or something to Sapphire.      So we said, Well,

     5   what's Sapphire?     This is Sapphire.   And you can see inside

     6   72, there's a picture, and we've hidden strategically some of

     7   it.

     8         But we asked Mr. Adamczak, the corporate representative of

     9   Beecher Carlson, at Page 101, Lines 15, to 102, What did you

    10   understand Sapphire to be?

    11         He answered, A typical Las Vegas strip club.

    12         Question, Did you look at that at the time when they

    13   submitted $318,000 in expenses?

    14         Answer, Yes.

    15         And did you ask Mr. DiOrio specifically about that?

    16         Answer, I did.

    17         Question, And his answer was that it was business

    18   development?

    19         Answer, They were all business development.     This is how

    20   they do business.

    21         Question, They being who?

    22         Answer, Highland Capital.

    23         Okay?   By the way, the business is, on one day, or one

    24   evening, December 16, 2019, as you can see, $9,800, $9,800,

    25   $9,000, all being supposedly conducted at the Sapphire strip




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     1   club.

     2        Back in the day, this was looked at.       And you can see on

     3   some of these emails.      Remember, you heard about this SAS

     4   Management server that's apparently been hidden from the

     5   Highland -- from the Debtor?        Sarah Goldsmith to Matt DiOrio

     6   says that she was submitting the attached expense

     7   reimbursement on behalf of Scott Ellington.       Ms. Goldsmith, I

     8   think, was his assistant.      Subject to an approval by the

     9   directors, please instruct reimbursement to Scott Ellington

    10   for this total travel expenses of $318,000.

    11        Mr. DiOrio forwards that on to Beecher Carlson and just

    12   says, Hey, guys, Please submit the attached expenses for

    13   approval and reimbursement.

    14        By the way, as a heads up, settlement talks are cranking

    15   up, but okay.

    16        Internally at Beecher Carlson -- and this finally gets

    17   their attention.      They mostly just do what they're told, but

    18   internally Mr. Adamczak emails with his colleague and says,

    19   Nice.      What the hell is going on with these expenses?      I

    20   question how much, quote, business development is actually

    21   being done.      Did you look at this?

    22        Well, we asked, What raises concern?       He said, The fact

    23   there was $318,000 worth of expenses at first, but there was a

    24   significant amount of that that seemed to be club-related.           We

    25   asked if the directors approved it.       He said, Ultimately, but




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    1   they also questioned it.

    2        Oh, by the way, these are not the current directors.       As

    3   Mr. Morris noted, the current directors are new, and those are

    4   the ones we're dealing with now.     These were Mr. DiOrio and

    5   his two other colleagues back then.

    6        They were asked -- they requested the nature of these

    7   expenses and then specifically inquired whether all or both of

    8   the UBOs would be okay with running these expenses through the

    9   captive as business development.     That was their only

   10   question.    Are the UBOs -- that is, Dondero and Ellington --

   11   going to be okay with running these expenses through the

   12   captive?

   13        Who did they ask?    Matt DiOrio.   What did he answer?    That

   14   it was appropriate.

   15        And I just clarified, So he was saying it's appropriate

   16   because the UBOs said it was appropriate?

   17        Answer, To my knowledge, yes.

   18        No justification other than, Hey, if Dondero and Ellington

   19   said it's okay, at least according to DiOrio, it must be okay.

   20        That's not it, though.    It wasn't just a mod... you know,

   21   relatively, I guess, when you consider the total amount of

   22   expenses.    There's also dividend payments.    And on Slide 77,

   23   you see that we've uncovered at least a total of $8.9 million

   24   dividend payments that were paid to Mr. Dondero and Mr.

   25   Ellington's entities that they owned, that they're the




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     1   intermediaries to them as the ultimate beneficial owners.

     2        Here is an example of a payment that was made in April of

     3   2020 -- again, unbeknownst I think at the time, I'm sure at

     4   the time, to Mr. Seery.     And this is out of Sentinel's money.

     5   It's supposed to be -- you know, they don't even have a

     6   hundred million in cash at that time, and yet they're

     7   dividending up to Mr. Dondero and Mr. Ellington.      There is an

     8   approval of the payment, of course.      It's done by Matt DiOrio

     9   and his -- and then two colleagues, as the Sentinel director

    10   at the time, in April 24, 2020.      This is Exhibit 47.      A total

    11   of $6.4 million.    And you can see it's divided up.     About $4.4

    12   million goes to Main Spring, Limited.      This is Exhibit 21.

    13   That's a Dondero entity.     And you can see there's -- Exhibit

    14   22 shows the wire transfer to another entity called Montage of

    15   about $1.9 million.    That's the Ellington-affiliated entity.

    16        So, the grand total of about $6.4 million gets distributed

    17   70/30, as we've seen in the ownership interest, to entities

    18   controlled, respectively, by Mr. Dondero and Mr. Ellington, as

    19   set forth in Exhibits 21 and 22.

    20        That's not all, of course.      Even in 2021, in January of

    21   2020 -- sort of the last gasp before they get found out,

    22   there's another dividend payment.      Again, approved by Mr.

    23   DiOrio.    January 11, 2021.    This is -- this is all during a

    24   time when they're not telling anything to Mr. Seery or Mr.

    25   Demo or the others about Sentinel.      And yet Mr. DiOrio is




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     1   hustling dividend payments up to Dondero and Ellington.        And

     2   you can see Exhibits 48 and 23 show how the money ultimately

     3   gets transferred, you know, even, you know, as late as the

     4   spring of 2021.

     5        Finally, Sentinel money.      Mr. Morris talked about this.

     6   And I guess there's a lawyer on the -- on the -- in the

     7   proceedings today that maybe intends to try to benefit from

     8   Sentinel's money as well.

     9        In June 2021, Beecher Carlson was given a request for

    10   expense approval for Ross & Smith of about $75,000.       This,

    11   according to Mr. DiOrio, was all in order and should be

    12   settled.    Mr. DiOrio represents -- this is June of 2021, after

    13   he's been fired by Highland.       He says, The company identified

    14   a group of former employees, my -- former employees, okay?

    15   Sentinel had no employees.     And by the way, many of these

    16   people testified under oath that not only were they not

    17   employees, but they hardly did anything at all with Sentinel.

    18   Yet Mr. DiOrio is claiming that the company had identified a

    19   group of former employees, myself included -- presumably, he's

    20   talking about former Sentinel employees; there's no reason why

    21   Sentinel would be indemnifying former Highland employees.         But

    22   in any event, he says, It relates to our defense with today's

    23   hearing that I mentioned.

    24        Now, they're not a part of this hearing.      To the extent

    25   Sentinel -- Sentinel insurance doesn't go to Mr. DiOrio for




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     1   trying to avoid deposition testimony or something, and that's,

     2   by the way, what that hearing was.

     3        Your Honor may not remember that date.     We do.   It was

     4   June 24, 2021.    This is an entry that shows that that hearing

     5   that day was the motion we had to make to compel the

     6   deposition testimony, because at the time all of these former

     7   Highland employees were fighting having to come provide all of

     8   this testimony you've now seen.     You would never have seen

     9   much of what we presented today had this motion to compel not

    10   been granted.    And they charged $75,000 to fight it.

    11        Now, we asked for fees at the time.     And we understand why

    12   Your Honor didn't award fees, but -- we can understand that.

    13   But it sort of put us flat.     Not only did they not pay our

    14   fees for having to move to compel, they depleted Sentinel

    15   further, which owes us, at the time, owes us quite a bit of

    16   money, for the privilege of trying to stop us from finding out

    17   all of the evidence here.

    18        So, and I say that it's UBS's money at Sentinel because

    19   the New York courts say so.     The New York courts have held

    20   that insurance policies may constitute debts against which a

    21   money judgment may be enforced under Article 52 of the New

    22   York CPLR, and a judgment debtor can enforce the subject debt

    23   arising from the court's final judgment against the judgment

    24   debtor's insurer, pursuant to Article 52 of the CPLR.         So,

    25   really, this money really ultimately should go to UBS.         It




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     1   should not be allowed to continue to be paid for this

     2   indemnification or for any other purpose, et cetera.

     3        At the end of the day, even if the policy were valued, or

     4   valid, UBS would be owed at least $100 million, even if it was

     5   a totally valid thing.     But in fact, UBS is owed the $100

     6   million plus the $80 million for the fraudulent transfer, for

     7   a total of over $180 million.

     8        So that's how we get to success on the merits.      The

     9   others, I really don't need to go much through.

    10        I think, you know, irreparable injury.      In brief, there's

    11   case law that makes it clear that the irreparable injury

    12   element is satisfied when the defendants would dissipate the

    13   frozen assets, and if the defendants were to dissipate or

    14   transfer these assets out of the jurisdiction, the District

    15   Court would not be able to grant the effective remedy.         That's

    16   from the Fifth Circuit, Janvey v. Alguire, 647 F.3d 585.

    17   There's similar law in the Ninth Circuit:      Johnson v.

    18   Couturier, 572 F.3d 1067.

    19        And, again, Mr. Seery, as you heard him testify live, but

    20   this is from his deposition, made it clear that he really had

    21   no choice.    Without the TRO, this money probably would have

    22   been already transferred to Sentinel and gosh knows what would

    23   have happened.

    24        The weighing of harms.    Well, this adversary proceeding,

    25   of course, as Mr. Morris said, we kind of expected maybe




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     1   Sentinel or maybe Mr. DiOrio or someone to intervene.          No one

     2   did.    So the proceeding is between UBS and Highland.        There is

     3   huge harm to UBS if the injunction is not granted.

     4          The other party is Highland, because Highland -- you know,

     5   there's certainly no benefit to Highland, and instead what

     6   Highland will face is more litigation, costs, and a fraud,

     7   which, of course, Highland doesn't want.      And that's why I

     8   think Highland -- not only is there no harm to Highland to

     9   granting the relief, but Highland wants to cut these

    10   proceedings short.    And that's fine with us, as long as we

    11   were able to present this evidence, as long as it doesn't cut

    12   short the ability to get the full order that we've requested.

    13   So, I think the weighing of harms is easy.

    14          And finally I end with the public interest.    Your Honor,

    15   there is no harm to the public interest if the Court does

    16   enjoin fraudulent behavior.     That is the only way that we can

    17   prevent harm to the public interest.     You have seen a pattern,

    18   a series, you know, it's tacked on to other things you've seen

    19   in connection with these proceedings.      But the prevention of

    20   unjust enrichment by means of fraud or misappropriation, even

    21   if it was affecting "only private entities," is in the general

    22   public interest.

    23          Of course, here, all of these things impact not just UBS,

    24   it affects the other creditors of the estate.      It affects the

    25   Court's time.    And certainly, I think as Mr. Morris put it,




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     1   it's just the signal that it sends to allow this to go

     2   unchecked would be terrible.

     3        So it's many issues of concern that we haven't even dived

     4   into as much as we could, including testimony that is

     5   questionable, I'll say, at best, and various transfers and

     6   information that was not provided to the Court and its

     7   representatives.     And, of course, these proceedings, I suspect

     8   there will be issues for someone else for another day to deal

     9   with.

    10        But for us, we just ask that the Court enter the

    11   injunction as we have suggested with the minor edits to the

    12   version that Mr. Morris and his colleagues submitted.          The

    13   public interest will be served by that.

    14        And I'll end with, you know, why are we still here?         We're

    15   still here because UBS still has that over billion-dollar

    16   judgement.     And, in fact, because of interest, that judgment

    17   has grown by about $116 million, okay, while we've been

    18   dealing with all of this.      While we could've maybe gotten a

    19   significant portion, maybe could've settled, et cetera, but

    20   it's now up to over $1.1 billion.

    21        And how much total has UBS been paid by the judgment

    22   debtors?     About $14 million.     By the way, the $14 million is

    23   those assets that we caught at the last second that were

    24   ineffectually tried to -- transferred, even though they tried

    25   to be.     But that's all that UBS has recovered from the actual




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     1   judgment debtors.    And that's why we're still here, that's why

     2   we have to stay here, and that's why we should be entitled to

     3   continue to make sure that this Court's injunctive power

     4   protects UBS's ability to continue in its efforts.

     5        Thank you for your patience.      I appreciate it.

     6              THE COURT:    All right.    I'm going to ask you a couple

     7   of follow-up questions.      I've heard today that once Highland's

     8   independent directors, Strand's, discovered all of this, the

     9   Sentinel policy and the transfer of assets, they immediately

    10   notified UBS.    And one of the results was the settlement that

    11   had originally been struck between UBS and Highland was

    12   increased with $50 million more to go to UBS.       Could you just

    13   elaborate on that?      Before this was all discovered, the

    14   settlement that had been negotiated that was going to be

    15   presented to the Bankruptcy Court involved how much of an

    16   allowed claim that would be paid out of the estate and any

    17   other relevant components?

    18              MR. MORRIS:    Mr. Clubok, I have those numbers if you

    19   don't have them handy.

    20              THE COURT:    Okay.   Or Mr. Morris.

    21              MR. CLUBOK:    Thank you.    I was just going to -- so I

    22   would appreciate that.

    23              MS. MORRIS:    So, at the confirmation hearing, the

    24   proposed settlement was a Class 8 general unsecured claim for

    25   $50 million, a $25 million Class 9 subordinated general




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     1   unsecured claim, and a cash payment of $18-1/2 million from

     2   Multi-Strat.

     3          After the disclosure of this information, the Class 8

     4   claim was increased by $15 million, from $50 to $65 million,

     5   and the Class 9 subordinated general unsecured claim was

     6   increased by $35 million, from $25 to $60 million.         And the

     7   Multi-Strat cash payment remained the same.

     8          So, just to summarize, the Class 8 claim went up by $15

     9   million and the Class 9 claim went up by $35 million.

    10               THE COURT:    Okay.    And just another refresher of my

    11   memory.    The global mediation that happened in this case, it

    12   was summer 2020, the global mediation before former Judge

    13   Gropper and Sylvia Mayer.         So I know UBS technically did not

    14   settle during that mediation, but it came about, you know, a

    15   few weeks or months after.         But there had been participation

    16   by UBS and the Debtor in that mediation.         And, again, this was

    17   summer 2020, before anyone knew about this Sentinel insurance

    18   policy, correct?

    19               MR. CLUBOK:    That's correct, Your Honor, but also, as

    20   you note, the mediation started in the summer of 2020.         We

    21   were, prior to doing that mediation, in anticipation of that

    22   mediation, asking for all this financial information.         To Mr.

    23   Seery's credit, as he testified, he said, Hey, we'll get it to

    24   you.    We -- that's fair.    And he said, I'll tell my folks to

    25   get whatever you need, or words to that effect.




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     1        We didn't settle in the first round when some others did,

     2   but we had continuing mediation sessions into the fall.        And I

     3   believe, I don't have the exact dates, but I believe UBS then

     4   had follow-on continuing discussions with Judge Gropper or Ms.

     5   Mayer in, you know, I want to say October, September/October

     6   time frame.     And that's when we're still in the mediation, we

     7   believe or we've been told at that time, oh, you've got all

     8   the information about the assets now, because in the first

     9   mediation we didn't have it, so that's why I said, hey, we

    10   can't settle.    By the time we had that second set of sessions

    11   with Judge Gropper and Ms. Mayer, then we had been given all

    12   the information, as we now know, because Mr. Leventon, Mr.

    13   Ellington, and others told Mr. Seery and Mr. Morris and his

    14   team, hey, this is everything.

    15        So, with that in hand, that's when we reached this initial

    16   settlement that Mr. Morris described to you.      And then, you

    17   know, as we're working through it and we'd gotten that -- I

    18   think we finally got to that settlement by the end of the

    19   year, by the end of 2020.     But then, luckily, as we continued

    20   to press for information, and then in January a lot of this

    21   gets uncovered.    In fact, before we had finalized that

    22   settlement per those discussions, this was all uncovered.         And

    23   so that's what caused us to, then, say, well, --

    24              THE COURT:   I'm just mainly trying to be clear.     And

    25   I'm just thinking through all the time and attorneys' fees




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     1   that were incurred related to this UBS claim and what was a

     2   fair and equitable settlement, without anyone having the

     3   benefit of the knowledge about this Sentinel transaction.

     4               MR. CLUBOK:    For sure.    And my point is it started

     5   August, but we worked all the way -- I think maybe it was even

     6   close to Christmas.       I feel like it was very much at the end

     7   of the year when we finally got a settlement, and all that was

     8   on the fiction of the belated production of some of the

     9   assets, which then we get to January and it's like ah, gee, we

    10   have to start over again.         And you know, it's all those months

    11   of attorneys' fees and time and et cetera, all because or

    12   largely because this information was hidden from Mr. Seery,

    13   Mr. Morris, and his colleagues.

    14               THE COURT:    Okay.    My last question for you.   We

    15   heard a little bit of testimony from Mr. Seery about the

    16   after-the-fact insurance policy and whether that's a thing or

    17   not.    That's our new phrase in this case, "Is this really a

    18   thing or not?" it seems like.

    19          What is your view of this?      I mean, I'm certainly

    20   generally aware.    I think Mr. Seery said, you know, in

    21   jurisdictions where there's a loser-pay concept as opposed to

    22   the American rule there is a concept such as this, I guess, to

    23   at least pay defense costs.        But what is your take on this,

    24   you know, fake or real insurance policy?

    25               MR. CLUBOK:    So, so a slightly different take.    It's




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     1   a little more nuanced.      There is certainly something called an

     2   after-the-event insurance policy that is not -- it would be

     3   common for some insurers to issue those policies.        Sometimes

     4   it's call judgment insurance.       And basically what happens is

     5   that, you know, let's say your company gets hit with some

     6   lawsuit, maybe it's an environmental potential liability, so

     7   it's now known that, you know, you are alleged to have leaked

     8   chemicals onto somebody's property.       So, a claim is filed.

     9   Normally, obviously, you can't buy insurance to insure against

    10   something right after you find out about it, but there are

    11   companies, I understand, insurers, that will say, okay, you've

    12   already been sued; I'm going to now insure you against the

    13   judgment.     Now, the premium might be very high, and we have

    14   to, you know, price it the right way.       But, you know, you have

    15   a, you know, if you have a billion dollar claim, if you want a

    16   billion dollar judgment, the premium might be, you know, $250

    17   million, or you have a $100 million claim, you know, it could

    18   be a $100 million claim, and so maybe the premium could be $25

    19   [million].     Let's look at the strengths and weaknesses, we'll

    20   price it out, et cetera.

    21        There is a market that I'm very loosely describing.        I'm

    22   not an insurance expert.      I'm not testifying here.    But my

    23   understanding is that is a market and you could theoretically

    24   get it.

    25        What is in the record here is that these guys came up with




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     1   this idea that -- probably because they had heard there's

     2   something like this -- and they start with the proposition,

     3   okay, all the assets, hundred million coverage, let's backdoor

     4   figure out how to work it out.

     5        They then ask Beecher Carlson to "shop it" to see if they

     6   could get a policy.     And Beecher Carlson, there's extensive

     7   testimony in this, I'm not sure we submitted every bit, but we

     8   could if we needed to, basically said, yeah, we shopped around

     9   and no -- no insurance would have done it for anything like

    10   that.      There would have been a very different premium.      They

    11   would have had to do lots of due diligence.       It would have

    12   been a whole different process.

    13        They said some of them agreed to just look into it as a

    14   favor to Beecher Carlson, but they were never going to write a

    15   policy.      And so there was some -- something suspect.       Some of

    16   the individuals said, oh, this looks very legitimate.          We

    17   priced it around.      Now, one of -- some of them said, oh, we

    18   priced it around.      There's other testimony that some of it's

    19   been designated by us that I didn't cover today for purpose of

    20   time that say, yeah, but no other insurer would -- no other

    21   insurer would do it at this price.      Right?

    22        Which just shows it's not -- even if it's a thing,

    23   theoretically, this particular transaction is not arm's

    24   length.      Obviously, they grossly overpaid.   They did it in a

    25   way that was very highly irregular for any insurance company.




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     1   And they -- and for Sentinel, it was the one and only ATE

     2   policy they ever tried to issue.

     3        So, yes, it's a thing.       That's why they -- there's enough

     4   there that they, in some of their deposition testimony, can

     5   sort of say, this is a legitimate thing.         And that's why, you

     6   know, if we take them at their word, it's perfectly legitimate

     7   to have a hundred -- you know, had they told us, hey, we spent

     8   $25 million and we got in a $100 million insurance policy, we

     9   probably would have said, that sounds okay.         You know.

    10        Had they told us we shipped away $300 million face-value

    11   assets that were worth at least $105 million and then we're

    12   going to buy $100 million policies and we're going to hide it

    13   from you and never pay out on it, that wouldn't be so good.

    14   And that's the difference between a thing that's legit and a

    15   thing that is let's just say highly irregular.

    16               THE COURT:    Okay.   All right.   I just wanted to be

    17   educated on that point.      I realize what the real beef is here,

    18   the nondisclosure.

    19               MR. CLUBOK:    Did I give you the information you

    20   needed?

    21               THE COURT:    What?

    22               MR. CLUBOK:    I'm sorry.     Did I give you what you

    23   needed --

    24               THE COURT:    Yes, you did.

    25               MR. CLUBOK:    -- on that?




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     1              THE COURT:    All right.   Thank you.

     2              MR. CLUBOK:    Okay.

     3              THE COURT:    Was there anything else?   I think you

     4   rested, correct?

     5              MR. CLUBOK:    I assume Mr. Morris -- I don't know if

     6   there's going to be "closing arguments."      I don't need any if

     7   Mr. Morris is comfortable with standing on the record, unless

     8   there's final --

     9              MR. MORRIS:    I've got about three minutes, Your

    10   Honor, if I may.

    11              THE COURT:    All right.   Go ahead, Mr. Morris.

    12               CLOSING ARGUMENT ON BEHALF OF THE DEFENDANT

    13              MR. MORRIS:    Number one, I don't think anybody could

    14   fairly call this insurance policy a legitimate thing, and you

    15   know that from two undisputed facts.      Number one, it was never

    16   disclosed, and number two, nobody ever made a claim until Jim

    17   Seery did.    So nobody ever tried to recover the assets and

    18   nobody ever disclosed the existence of the policy.       It is not

    19   a thing.

    20        Number two, at Slide 79 of Mr. Clubok's presentation,

    21   you'll see a transfer of $6.4 million to an entity called Main

    22   Spring.    You'll see that that transfer was made in the spring

    23   of 2020, and we believe, Your Honor, that that $6.4 million

    24   was part of the $10 million that Mr. Dondero referred to in

    25   April in open court when he testified that he had caused $10




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     1   million to be paid to Highland's insiders.

     2        So, think about that.     They transfer the money to

     3   Sentinel.     That money was from the Defendants that UBS was

     4   suing.     And then they use that money to pay the insiders at

     5   the same time they're signing the indemnity agreement.         At the

     6   exact same moment.

     7        Your Honor, I told you that Mr. Seery and the Debtor and

     8   the independent board agreed to the preliminary injunction but

     9   could not agree to a permanent injunction because they didn't

    10   have personal knowledge of all the facts.       We knew of the

    11   existence of the policy, but Mr. Clubok's presentation and the

    12   work done by his team show exactly the justification, the

    13   rationale, and the common sense that Mr. Seery and the

    14   independent board showed in not rushing to a conclusion here.

    15        The evidence that Mr. Clubok presented today was unknown

    16   to the Debtor, was unknown to the independent board, and we

    17   thank them for their diligence and for their work.

    18        At the end of the day, Your Honor, to borrow a phrase the

    19   Court has used before, this is not a garden-variety commercial

    20   dispute.    This is not a garden-variety fraudulent transfer

    21   action.    This is not a garden-variety breach of fiduciary

    22   duty.    This is fraud, plain and simple, compounded by the

    23   failure, the intentional -- knowing, intentional failure to

    24   disclose post-bankruptcy.

    25        We'd respectfully request that the Court grant the motion.




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     1              THE COURT:    All right.

     2              MR. CLUBOK:    Your Honor, if I may.

     3              THE COURT:    You may.

     4              MR. CLUBOK:    Very briefly.   I just --

     5              THE COURT:    Go ahead.

     6              CLOSING ARGUMENT ON BEHALF OF THE PLAINTIFF

     7              MR. CLUBOK:    Sorry.    Yeah, as a housekeeping matter,

     8   I would like to offer our presentation as a demonstrative

     9   exhibit reflective of the evidence.       We will provide you with

    10   a hard copy.    It refers to, obviously, many of the exhibits

    11   that we submitted, and it'll be up to the Court's convenience,

    12   I think.    I think we've -- we've given a copy to Mr. Morris

    13   ahead of time.    I think there's no objection to that being

    14   submitted to Your Honor.

    15        I would just like to, you know, end by saying, you know,

    16   we started the proceedings, we appreciate, we understand

    17   certainly why Highland wanted to stop the bleeding and stop

    18   spending money on this proceeding, and so that -- we have no

    19   issue with that.

    20        We would ask that -- we provided a redline that makes mild

    21   edits that I think -- dare I hope, Mr. Morris, that, per

    22   agreement, can and should be made to the proposed order.        They

    23   submitted one and we submitted a slightly proposed -- one

    24   which also referred to a consideration of the evidence that we

    25   anticipated being able to present today, and most importantly,




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     1   now that we've presented that evidence today, I think that

     2   justifies a modest change in the order along the lines to that

     3   effect.

     4       I see Mr. Morris nodding, so hopefully that means he

     5   agrees.

     6               MR. MORRIS:    It does.    We hadn't heard the evidence

     7   before, Your Honor.       I'd never seen Mr. Clubok's presentation.

     8   I didn't know quite what he was going to do today.         And that's

     9   the reason why we had a slight dispute over some of the

    10   language.

    11       But based on the evidence that I heard, you know, if we

    12   could take one last review of it and confirm, but I have no

    13   reason to believe that we'll have any objection.

    14               THE COURT:    All right.    And you have no objection to

    15   the PowerPoint being part of the record, Mr. Morris?

    16               MR. MORRIS:    Not as -- not as a demonstrative

    17   exhibit, Your Honor, --

    18               THE COURT:    Okay.

    19               MR. MORRIS:    -- which is, I think, what Mr. Clubok

    20   said.

    21               THE COURT:    All right.    Well, Mr. Clubok, if you

    22   could send it to Traci Ellison, with copy to counsel, I will

    23   make that part of the record.         It's always, I think, easier to

    24   understand a transcript, if anyone's looking at it after the

    25   fact, if they have the PowerPoint in the Court file to cross-




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     1   reference.

     2        Well, it's been, for lack of a better term, an amazing day

     3   of evidence.    The Court believes the evidence is overwhelming

     4   to justify the granting of an injunction here.      And as was

     5   stated early on, it's been phrased in terms of it being a

     6   permanent injunction, but as I understand it, the injunction

     7   sought would be to enjoin disbursement, disposition of the so-

     8   called transferred assets until a further order of a court of

     9   competent jurisdiction with regard to fraudulent transfer

    10   litigation or other litigation over the Sentinel matters or a

    11   settlement with Sentinel.

    12        Certainly, the four prongs for an injunction have been met

    13   here.

    14        I believe the relief is necessary to avoid immediate and

    15   irreparable harm to the UBS entities.

    16        I believe UBS has made a very strong showing of likely

    17   success on the merits here with regard to these transfers of

    18   assets being fraudulent and with regard to a potential showing

    19   of insolvency or inability of the transferors to pay debts as

    20   they become due, and as a result of the transfers,

    21   consideration for the transfers appears to have been

    22   inadequate.

    23        Secrecy of the transaction.

    24        Certainly, there are all of these indicia of fraud

    25   suggesting UBS would succeed on the merits.




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     1        The balance of equities certainly tip in favor of UBS

     2   here.      Injury to it would appear to outweigh any damages that

     3   the injunction would cause Highland.       And such relief would

     4   serve the public interest.

     5        So, the Court reserves the right to supplement in a more

     6   fulsome form of order, but, again, the motion of the Debtor to

     7   withdraw its answer disputing this relief is granted, and I

     8   think judgment for this injunctive relief is also appropriate

     9   at this juncture.

    10        I said that it's been an amazing day of evidence.         It's

    11   been amazing.      It's been exhausting.   It's been troubling.

    12   You know, I think it was, Mr. Morris, you who said at the

    13   beginning today that, you know, Debtor-in-Possession counsel

    14   is not a prosecutor, it's not the SEC, it's not the State Bar

    15   disciplinary agency.      And, you know, your goal for your client

    16   is always to maximize value for creditors and get a good

    17   overall result for all parties in interest affected by the

    18   bankruptcy.

    19        I could say something similar right now that I, you know,

    20   I oversee these things.      I apply the Bankruptcy Code to

    21   motions filed and different relief sought and grant relief

    22   where appropriate that is designed to help companies or people

    23   get a fresh start and help creditors get paid what they're

    24   justly owed.

    25        But this evidence today, I am, unfortunately, duty-bound




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     1   to do more than just sign the judgment and order that's

     2   submitted to me and forget about it.      I'm just letting you

     3   know that referrals will likely be made to the State Bar

     4   disciplinary agencies regarding the attorneys' activities that

     5   I've heard about.    And, you know, it's not a good day in court

     6   when I'm looking at 18 U.S.C. during the middle of evidence,

     7   but I'm just going to let observers who -- I don't who all is

     8   on the WebEx today.    I don't have all the little boxes on my

     9   screen to know.     But 18 U.S.C. Section 3057:   Any judge having

    10   reasonable grounds for believing that violation of laws of the

    11   United Stated relating to insolvent debtors has been committed

    12   or that an investigation should be had in connection therewith

    13   shall report to the appropriate United States Attorney all the

    14   facts and circumstances of the case, the names of the

    15   witnesses, and the offense or offenses believed to have been

    16   committed.    And there are different provisions of Title 18

    17   that I'm very, very concerned may be implicated.

    18        So, I'm duty-bound to go back and carefully look at some

    19   of the exhibits that have been submitted today.      And, again,

    20   I'm not the U.S. Attorney and I'm not a criminal judge.        I

    21   don't plan on combing over everything as, you know, a grand

    22   jury would do.    But if I think there is enough there, I will

    23   be making a referral to the U.S. Attorney.

    24        Again, the nondisclosure, the potential cover-up here is

    25   beyond troubling.    And, you know, I'm duty-bound to do what




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     1   I've got to do if the exhibits look as damning as, you know,

     2   on further reflection in chambers, as they did sitting here on

     3   the bench today.

     4        So, you know, I regret, I regret this greatly, but, you

     5   know, I'm just letting people know that it's a potential

     6   consequence of what I've heard today.

     7        All right.    Anything else?     All right.

     8              MR. MORRIS:    No, Your Honor.    Thank you.

     9              THE COURT:    Thank you.    We stand adjourned.

    10        (Proceedings concluded at 1:16 p.m.)

    11                                  --oOo--

    12

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    19

    20                                CERTIFICATE

    21        I certify that the foregoing is a correct transcript from
         the electronic sound recording of the proceedings in the
    22   above-entitled matter.
    23     /s/ Kathy Rehling                                  08/10/2022

    24   ______________________________________             ________________
         Kathy Rehling, CETD-444                                Date
    25   Certified Electronic Court Transcriber




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